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 &lt;div class="ldml-decision"&gt;&lt;div class="ldml-decision"&gt;&lt;div href="/vid/940813641" data-vids="940813641" class="ldml-header header ldml-header content__heading content__heading--depth1" data-content-heading-label="Header"&gt;&lt;p class="ldml-metadata"&gt;&lt;span class="ldml-cite"&gt;&lt;b class="ldml-bold"&gt;527 P.3d 371&lt;/b&gt;&lt;/span&gt;&lt;/p&gt;&lt;p class="ldml-metadata"&gt;&lt;b class="ldml-bold"&gt;&lt;span class="ldml-party"&gt;&lt;span class="ldml-name"&gt;COLORADO PROPERTY TAX ADMINISTRATOR&lt;/span&gt;, &lt;span class="ldml-role"&gt;Petitioner&lt;/span&gt;&lt;/span&gt;,&lt;/b&gt;&lt;/p&gt;&lt;p class="ldml-metadata"&gt;&lt;b class="ldml-bold"&gt;v.&lt;/b&gt;&lt;b class="ldml-bold"&gt;&lt;span class="ldml-party"&gt;&lt;span class="ldml-name"&gt;CO&lt;sub class="ldml-subscript"&gt;2&lt;/sub&gt; COMMITTEE, INC.&lt;/span&gt;, &lt;span class="ldml-role"&gt;Respondent&lt;/span&gt;&lt;/span&gt;.&lt;/b&gt;&lt;/p&gt;&lt;p class="ldml-metadata"&gt;&lt;b class="ldml-bold"&gt;Supreme Court &lt;span class="ldml-cite"&gt;Case No. 21SC393&lt;/span&gt; &lt;/b&gt;&lt;/p&gt;&lt;p class="ldml-metadata"&gt;&lt;b class="ldml-bold"&gt;&lt;span class="ldml-court"&gt;Supreme Court of Colorado&lt;/span&gt;.&lt;/b&gt;&lt;/p&gt;&lt;p class="ldml-metadata"&gt;&lt;span class="ldml-date"&gt;&lt;b class="ldml-bold"&gt;February 21, 2023&lt;/b&gt;&lt;/span&gt;&lt;/p&gt;&lt;p class="ldml-metadata"&gt;&lt;span class="ldml-date"&gt;&lt;b class="ldml-bold"&gt;Rehearing Denied April 24, 2023&lt;/b&gt;&lt;/span&gt;&lt;/p&gt;&lt;/div&gt;&lt;div class="ldml-counsel header ldml-header content__heading content__heading--depth1" data-content-heading-label="Counsel"&gt;&lt;p data-paragraph-id="199" class="ldml-paragraph no-indent mt-2"&gt;&lt;span data-paragraph-id="199" data-sentence-id="199" class="ldml-sentence"&gt;Attorneys for &lt;span class="ldml-entity"&gt;&lt;span class="ldml-role"&gt;Petitioner&lt;/span&gt;&lt;/span&gt;: &lt;span class="ldml-entity"&gt;&lt;span class="ldml-lawyer"&gt;Philip J. Weiser&lt;/span&gt;&lt;/span&gt;, &lt;span class="ldml-entity"&gt;Attorney General&lt;/span&gt;, &lt;span class="ldml-entity"&gt;&lt;span class="ldml-lawyer"&gt;Robert H. Dodd&lt;/span&gt;&lt;/span&gt;, First Assistant &lt;span class="ldml-entity"&gt;Attorney General&lt;/span&gt;, &lt;span class="ldml-entity"&gt;&lt;span class="ldml-lawyer"&gt;Jessica E. Ross&lt;/span&gt;&lt;/span&gt;, Assistant &lt;span class="ldml-entity"&gt;Attorney General&lt;/span&gt;, &lt;span class="ldml-entity"&gt;&lt;span class="ldml-lawyer"&gt;Danny Rheiner&lt;/span&gt;&lt;/span&gt;, Assistant &lt;span class="ldml-entity"&gt;Attorney General&lt;/span&gt;, Denver, Colorado&lt;/span&gt;&lt;/p&gt;&lt;p data-paragraph-id="415" class="ldml-paragraph no-indent mt-2"&gt;&lt;span data-paragraph-id="415" data-sentence-id="415" class="ldml-sentence"&gt;Attorney for &lt;span class="ldml-entity"&gt;&lt;span class="ldml-role"&gt;Respondent&lt;/span&gt;&lt;/span&gt;: &lt;span class="ldml-entity"&gt;&lt;span class="ldml-lawyer"&gt;John M. Cogswell&lt;/span&gt;&lt;/span&gt;, Buena Vista, Colorado&lt;/span&gt;&lt;/p&gt;&lt;/div&gt;&lt;h2 class="ldml-opinionheading"&gt;&lt;span data-paragraph-id="479" class="ldml-paragraph "&gt;&lt;span class="ldml-judgepanel"&gt;&lt;span data-paragraph-id="479" data-sentence-id="479" class="ldml-sentence"&gt;En Banc&lt;/span&gt;&lt;/span&gt;&lt;/span&gt;&lt;/h2&gt;&lt;div class="ldml-opinion"&gt;&lt;p data-paragraph-id="486" class="ldml-paragraph no-indent mt-4"&gt;&lt;span class="ldml-opinionauthor content__heading content__heading--depth1" data-content-heading-label="Opinion (BERKENKOTTER, BOATRIGHT, MÁRQUEZ, HOOD, GABRIEL, HART, SAMOUR, BERKENKOTTER)"&gt;&lt;span data-paragraph-id="486" data-sentence-id="486" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;JUSTICE &lt;span class="ldml-entity"&gt;&lt;span class="ldml-judge"&gt;BERKENKOTTER&lt;/span&gt;&lt;/span&gt; &lt;span class="ldml-opiniontype"&gt;delivered &lt;span class="ldml-entity"&gt;the Opinion of &lt;span class="ldml-entity"&gt;the Court&lt;/span&gt;&lt;/span&gt;&lt;/span&gt;, in which CHIEF JUSTICE &lt;span class="ldml-entity"&gt;&lt;span class="ldml-judge"&gt;BOATRIGHT&lt;/span&gt;&lt;/span&gt;, JUSTICE &lt;span class="ldml-entity"&gt;&lt;span class="ldml-judge"&gt;MÁRQUEZ&lt;/span&gt;&lt;/span&gt;, JUSTICE &lt;span class="ldml-entity"&gt;&lt;span class="ldml-judge"&gt;HOOD&lt;/span&gt;&lt;/span&gt;, JUSTICE &lt;span class="ldml-entity"&gt;&lt;span class="ldml-judge"&gt;GABRIEL&lt;/span&gt;&lt;/span&gt;, JUSTICE &lt;span class="ldml-entity"&gt;&lt;span class="ldml-judge"&gt;HART&lt;/span&gt;&lt;/span&gt;, and JUSTICE &lt;span class="ldml-entity"&gt;&lt;span class="ldml-judge"&gt;SAMOUR&lt;/span&gt;&lt;/span&gt; joined&lt;/span&gt;.&lt;/span&gt;&lt;/span&gt;&lt;/p&gt;&lt;p data-paragraph-id="665" class="ldml-paragraph no-indent mt-4"&gt;&lt;span class="ldml-opinionauthor"&gt;&lt;span data-paragraph-id="665" data-sentence-id="665" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;JUSTICE &lt;span class="ldml-entity"&gt;&lt;span class="ldml-judge"&gt;BERKENKOTTER&lt;/span&gt;&lt;/span&gt; &lt;span class="ldml-opiniontype"&gt;delivered &lt;span class="ldml-entity"&gt;the Opinion of &lt;span class="ldml-entity"&gt;the Court&lt;/span&gt;&lt;/span&gt;&lt;/span&gt;&lt;/span&gt;.&lt;/span&gt;&lt;/span&gt;&lt;/p&gt;&lt;p data-paragraph-id="721" class="ldml-paragraph "&gt;&lt;span data-paragraph-id="721" data-sentence-id="721" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_721"&gt;&lt;span class="ldml-cite"&gt;¶1&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; In this oil and gas leasehold taxation case, &lt;span class="ldml-entity"&gt;we&lt;/span&gt; address whether nonoperating fractional interest owners in a unitized oil and gas operation have standing to independently challenge a county's retroactive property tax increase.&lt;/span&gt; &lt;span data-paragraph-id="721" data-sentence-id="951" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;We&lt;/span&gt; conclude that &lt;span class="ldml-entity"&gt;they&lt;/span&gt; do not.&lt;/span&gt;&lt;/p&gt;&lt;p data-paragraph-id="980" class="ldml-paragraph "&gt;&lt;span data-paragraph-id="980" data-sentence-id="980" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_980"&gt;&lt;span class="ldml-cite"&gt;¶2&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; CO&lt;sub class="ldml-subscript"&gt;2&lt;/sub&gt; &lt;span class="ldml-entity"&gt;Committee, Inc.&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-quotation quote"&gt;"&lt;span class="ldml-localname"&gt;CO&lt;sub class="ldml-subscript"&gt;2&lt;/sub&gt;&lt;/span&gt;"&lt;/span&gt;)&lt;/span&gt; is a nonprofit corporation whose membership is comprised of nonoperating owners of fractional interests in the McElmo Dome unit, a consolidation of working interests in a large deposit of pure carbon dioxide in &lt;span class="ldml-entity"&gt;Montezuma County&lt;/span&gt; and &lt;span class="ldml-entity"&gt;Dolores County&lt;/span&gt;, near the Four Corners area of Colorado.&lt;/span&gt; &lt;span data-paragraph-id="980" data-sentence-id="1299" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;Kinder Morgan CO&lt;sub class="ldml-subscript"&gt;2&lt;/sub&gt; Company, L.P.&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-quotation quote"&gt;"&lt;span class="ldml-localname"&gt;Kinder Morgan&lt;/span&gt;"&lt;/span&gt;)&lt;/span&gt; is the operator of the unit.&lt;/span&gt; &lt;span data-paragraph-id="980" data-sentence-id="1378" class="ldml-sentence"&gt;Following an audit for the &lt;span class="ldml-entity"&gt;2008&lt;/span&gt; tax year, &lt;span class="ldml-entity"&gt;Montezuma County&lt;/span&gt; determined that Kinder Morgan had underreported the value of gas produced at the unit's leaseholds by improperly deducting certain costs that it, as the unit operator, was not entitled to deduct.&lt;/span&gt; &lt;span data-paragraph-id="980" data-sentence-id="1633" class="ldml-sentence"&gt;The county ultimately increased its valuation of the entire unit by approximately $57 million.&lt;/span&gt; &lt;span data-paragraph-id="980" data-sentence-id="1728" class="ldml-sentence"&gt;The &lt;span class="ldml-entity"&gt;Montezuma County&lt;/span&gt; assessor then imposed a retroactive tax assessment on the unit totaling more than $2 million based on that increased value.&lt;/span&gt; &lt;span data-paragraph-id="980" data-sentence-id="1873" class="ldml-sentence"&gt;That prompted Kinder Morgan to challenge—ultimately unsuccessfully—the county's authority to impose the retroactive tax.&lt;/span&gt; &lt;span data-paragraph-id="980" data-sentence-id="1994" class="ldml-sentence"&gt;&lt;span class="ldml-referencechain"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-refglobal="case:kindermorganco2co,lpvmontezumacntybdofcommrs,2017co72" data-prop-ids="sentence_1873"&gt;&lt;i class="ldml-italics"&gt;&lt;span class="ldml-refname"&gt;Kinder Morgan CO&lt;sub class="ldml-subscript"&gt;2&lt;/sub&gt; Co. v. Montezuma Cnty. Bd. of Comm'rs&lt;/span&gt;,&lt;/i&gt; &lt;span class="ldml-cite"&gt;2017 CO 72&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;, &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_1873"&gt;&lt;span class="ldml-cite"&gt;¶ 2&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;/span&gt;, &lt;span class="ldml-referencechain"&gt;&lt;span class="ldml-entity"&gt;&lt;a href="/vid/893325068" data-vids="893325068" class="ldml-reference" data-prop-ids="embeddedsentence_2087"&gt;&lt;span class="ldml-cite"&gt;396 P.3d 657, 660&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-embeddedsentence"&gt;concluding that &lt;span class="ldml-entity"&gt;the statutory scheme&lt;/span&gt; authorized the retroactive tax&lt;/span&gt;)&lt;/span&gt;&lt;/span&gt;.&lt;/span&gt;&lt;/p&gt;&lt;p data-paragraph-id="2156" class="ldml-paragraph "&gt;&lt;span data-paragraph-id="2156" data-sentence-id="2156" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_2156"&gt;&lt;span class="ldml-cite"&gt;¶3&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; After &lt;span class="ldml-entity"&gt;we&lt;/span&gt; decided &lt;span class="ldml-entity"&gt;&lt;i class="ldml-italics"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-refglobal="case:kindermorganco2co,lpvmontezumacntybdofcommrs,2017co72" data-prop-ids="sentence_2156"&gt;&lt;span class="ldml-refname"&gt;Kinder Morgan&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;,&lt;/i&gt; CO&lt;/span&gt;&lt;sub class="ldml-subscript"&gt;2&lt;/sub&gt; challenged the same retroactive property tax increases, arguing that &lt;span class="ldml-entity"&gt;Montezuma County&lt;/span&gt; violated its members' due process rights by failing to provide individual notice of and an opportunity to separately challenge the retroactive assessment and increased property tax.&lt;/span&gt; &lt;span data-paragraph-id="2156" data-sentence-id="2463" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;The trial court&lt;/span&gt; dismissed CO&lt;sub class="ldml-subscript"&gt;2&lt;/sub&gt;'s case for lack of standing.&lt;/span&gt; &lt;span data-paragraph-id="2156" data-sentence-id="2522" class="ldml-sentence"&gt;CO&lt;sub class="ldml-subscript"&gt;2&lt;/sub&gt; appealed, and a division &lt;span class="ldml-pagenumber" data-rep="P.3d" data-page_type="bracketed_cite" data-vol="527" data-val="373" data-id="pagenumber_2551"&gt;&lt;/span&gt; of &lt;span class="ldml-entity"&gt;the court of appeals&lt;/span&gt; reversed, concluding that CO&lt;sub class="ldml-subscript"&gt;2&lt;/sub&gt;'s members were taxpayers with standing to pursue the claims asserted in the complaint.&lt;/span&gt; &lt;span data-paragraph-id="2156" data-sentence-id="2693" class="ldml-sentence"&gt;&lt;span class="ldml-referencechain"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-refglobal="case:co2comm,incvmontezumacounty,2021coa36m" data-prop-ids="sentence_2522"&gt;&lt;i class="ldml-italics"&gt;&lt;span class="ldml-refname"&gt;CO&lt;sub class="ldml-subscript"&gt;2&lt;/sub&gt; Comm., Inc. v. Montezuma Cnty.&lt;/span&gt;,&lt;/i&gt; &lt;span class="ldml-cite"&gt;2021 COA 36M&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;, &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_2522"&gt;&lt;span class="ldml-cite"&gt;¶ 20&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;/span&gt;, &lt;span class="ldml-entity"&gt;&lt;a href="/vid/887065073" data-vids="887065073" class="ldml-reference"&gt;&lt;span class="ldml-cite"&gt;491 P.3d 516, 521–22&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="2156" data-sentence-id="2771" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;We&lt;/span&gt; now reverse the division's judgment and hold that nonoperating fractional interest owners lack standing to independently challenge a retroactive assessment and property tax increase assessed against a unitized oil and gas operation.&lt;/span&gt; &lt;span data-paragraph-id="2156" data-sentence-id="3007" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;We&lt;/span&gt; reach this conclusion after examining &lt;span class="ldml-entity"&gt;the statutory scheme&lt;/span&gt; and administrative guidance related to the taxation of oil and gas leaseholds and determining that &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_3007"&gt;&lt;span class="ldml-cite"&gt;article 7 of title 39&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; creates a unique representative system in which a unit operator is the sole entity with standing to protest a retroactive assessment of tax on the unit it operates.&lt;/span&gt;&lt;/p&gt;&lt;div class="ldml-section"&gt;&lt;section class="ldml-heading content__heading content__heading--depth1" data-specifier="I" data-confidences="very_high" data-types="background" data-parsed="true" data-content-heading-label="I. Background" data-format="upper_case_roman_numeral" data-value="I. Background" data-ordinal_end="1" id="heading_3354" data-id="heading_3354" data-ordinal_start="1"&gt;&lt;span data-paragraph-id="3354" class="ldml-paragraph "&gt;&lt;b class="ldml-bold"&gt;&lt;span data-paragraph-id="3354" data-sentence-id="3354" class="ldml-sentence"&gt;I.&lt;/span&gt; &lt;span data-paragraph-id="3354" data-sentence-id="3357" class="ldml-sentence"&gt;Background&lt;/span&gt;&lt;/b&gt;&lt;/span&gt;&lt;/section&gt;&lt;p data-paragraph-id="3367" class="ldml-paragraph "&gt; &lt;span data-paragraph-id="3367" data-sentence-id="3368" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_3368"&gt;&lt;span class="ldml-cite"&gt;¶4&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; An estate in oil and gas is a form of real property.&lt;/span&gt; &lt;span data-paragraph-id="3367" data-sentence-id="3424" class="ldml-sentence"&gt;&lt;span class="ldml-referencechain"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_3368"&gt;&lt;span class="ldml-cite"&gt;§ 24-65.5-101, C.R.S.&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-date"&gt;2022&lt;/span&gt;)&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;span class="ldml-referenceseparator"&gt;;&lt;/span&gt; &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_3368"&gt;&lt;span class="ldml-cite"&gt;§ 39-1-102&lt;span class="ldml-parenthetical"&gt;(14)&lt;/span&gt;&lt;span class="ldml-parenthetical"&gt;(b)&lt;/span&gt;, C.R.S.&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-date"&gt;2022&lt;/span&gt;)&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="3367" data-sentence-id="3488" class="ldml-sentence"&gt;&lt;span class="ldml-quotation quote"&gt;"Unlike most real property interests, however, the value of an oil and gas leasehold interest comes not from the physical space or land the leasehold occupies, but rather, from the quantity and value of oil and gas underground."&lt;/span&gt;&lt;/span&gt; &lt;span data-paragraph-id="3367" data-sentence-id="3717" class="ldml-sentence"&gt;&lt;span class="ldml-referencechain"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-refglobal="case:kindermorganco2co,lpvmontezumacntybdofcommrs,2017co72" data-prop-ids="sentence_3488"&gt;&lt;span class="ldml-refname"&gt;&lt;i class="ldml-italics"&gt;Kinder Morgan&lt;/i&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; , &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_3488"&gt;&lt;span class="ldml-cite"&gt;¶ 4&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;/span&gt;, &lt;span class="ldml-entity"&gt;&lt;a href="/vid/893325068" data-vids="893325068" class="ldml-reference"&gt;&lt;span class="ldml-cite"&gt;396 P.3d at 660&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt;&lt;/p&gt;&lt;p data-paragraph-id="3754" class="ldml-paragraph "&gt;&lt;span data-paragraph-id="3754" data-sentence-id="3754" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_3754"&gt;&lt;span class="ldml-cite"&gt;¶5&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; When the owner of a mineral estate leases the right to extract oil and gas from the land, the lease can create either a working interest, in which the lessee has the right to enter the land and extract minerals, or a royalty interest, in which the lessee does not have the right to enter the land but is entitled to a portion of the minerals extracted or the proceeds from that portion.&lt;/span&gt; &lt;span data-paragraph-id="3754" data-sentence-id="4144" class="ldml-sentence"&gt;&lt;span class="ldml-referencechain"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_4144"&gt;&lt;span class="ldml-cite"&gt;&lt;i class="ldml-italics"&gt;Id.&lt;/i&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; &lt;span class="ldml-referenceseparator"&gt;;&lt;/span&gt;&lt;/span&gt; &lt;i class="ldml-italics"&gt;see&lt;/i&gt; 1 &lt;span class="ldml-entity"&gt;Patrick H. Martin&lt;/span&gt; &amp; &lt;span class="ldml-entity"&gt;Bruce M. Kramer&lt;/span&gt;, &lt;i class="ldml-italics"&gt;Williams &amp; Meyers, Oil and &lt;/i&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-refglobal="statute:/ny/statutes/genassoccode/202.2-202.3" data-prop-ids="sentence_4144"&gt;&lt;span class="ldml-cite"&gt;&lt;i class="ldml-italics"&gt;Gas Law&lt;/i&gt; §§ 202.2-202.3&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;, LexisNexis &lt;span class="ldml-parenthetical"&gt;(database updated &lt;span class="ldml-entity"&gt;Nov. 2022&lt;/span&gt;)&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="3754" data-sentence-id="4285" class="ldml-sentence"&gt;Nonoperating interest owners may take their &lt;span class="ldml-quotation quote"&gt;"production in kind"&lt;/span&gt;—that is, taking their proportionate share of the mineral estate and selling it themselves—or &lt;span class="ldml-entity"&gt;they&lt;/span&gt; may rely on another &lt;span class="ldml-entity"&gt;party&lt;/span&gt; to market the minerals and take their proportionate share of the resulting proceeds.&lt;/span&gt; &lt;span data-paragraph-id="3754" data-sentence-id="4559" class="ldml-sentence"&gt;&lt;span class="ldml-referencechain"&gt;&lt;span class="ldml-signal"&gt;&lt;i class="ldml-italics"&gt;See&lt;/i&gt;&lt;/span&gt; &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_4285"&gt;&lt;span class="ldml-refname"&gt;6 Patrick H. Martin &amp; Bruce M. Kramer, &lt;i class="ldml-italics"&gt;Williams &amp; Meyers, Oil and Gas Law&lt;/i&gt;&lt;/span&gt; &lt;span class="ldml-cite"&gt;§ 921.11&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;/span&gt;, LexisNexis &lt;span class="ldml-referencechain"&gt;&lt;span class="ldml-parenthetical"&gt;(database updated &lt;span class="ldml-entity"&gt;Nov. 2022&lt;/span&gt;)&lt;/span&gt;&lt;span class="ldml-referenceseparator"&gt;;&lt;/span&gt; &lt;span class="ldml-signal"&gt;&lt;i class="ldml-italics"&gt;see, e.g.&lt;/i&gt;&lt;/span&gt; , &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference"&gt;&lt;span class="ldml-refname"&gt;John Burritt McArthur, &lt;i class="ldml-italics"&gt;The Restatement &lt;span class="ldml-parenthetical"&gt;(First)&lt;/span&gt; of the Oilfield Operator's Fiduciary Duty&lt;/i&gt;&lt;/span&gt;, &lt;span class="ldml-cite"&gt;45 Nat. Res. J. 587, 679–80&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-date"&gt;2005&lt;/span&gt;)&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; &lt;span class="ldml-referenceseparator"&gt;;&lt;/span&gt; &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference"&gt;&lt;span class="ldml-cite"&gt;3 Colo. Div. of Prop.&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;/span&gt; Tax'n &amp; &lt;span class="ldml-entity"&gt;Dep't of Loc. Affs&lt;/span&gt;., &lt;i class="ldml-italics"&gt;Assessor's Reference Library: Real Property Valuation Manual&lt;/i&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-quotation quote"&gt;"&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference"&gt;&lt;span class="ldml-cite"&gt;3 ARL&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;"&lt;/span&gt;)&lt;/span&gt; 6.25 &lt;span class="ldml-parenthetical"&gt;(Rev. &lt;span class="ldml-entity"&gt;Jan. 2023&lt;/span&gt;)&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(defining &lt;span class="ldml-quotation quote"&gt;"Take-In-Kind"&lt;/span&gt;)&lt;/span&gt;.&lt;/span&gt;&lt;/p&gt;&lt;p data-paragraph-id="4997" class="ldml-paragraph "&gt;&lt;span data-paragraph-id="4997" data-sentence-id="4997" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_4997"&gt;&lt;span class="ldml-cite"&gt;¶6&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; These types of geological resources are often developed as a &lt;span class="ldml-quotation quote"&gt;"unit."&lt;/span&gt;&lt;/span&gt; &lt;span data-paragraph-id="4997" data-sentence-id="5069" class="ldml-sentence"&gt;A &lt;span class="ldml-quotation quote"&gt;"unit"&lt;/span&gt; in the oil and gas context is &lt;span class="ldml-quotation quote"&gt;"a consolidation of working interests that extract resources from a single geological reservoir."&lt;/span&gt;&lt;/span&gt; &lt;span data-paragraph-id="4997" data-sentence-id="5206" class="ldml-sentence"&gt;&lt;span class="ldml-referencechain"&gt;&lt;i class="ldml-italics"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-refglobal="case:kindermorganco2co,lpvmontezumacntybdofcommrs,2017co72" data-prop-ids="sentence_5069"&gt;&lt;span class="ldml-refname"&gt;Kinder Morgan&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;,&lt;/i&gt; &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_5069"&gt;&lt;span class="ldml-cite"&gt;¶ 12&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;/span&gt; n.4, &lt;span class="ldml-referencechain"&gt;&lt;span class="ldml-entity"&gt;&lt;a href="/vid/893325068" data-vids="893325068" class="ldml-reference"&gt;&lt;span class="ldml-cite"&gt;396 P.3d at 662 n.4&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; &lt;span class="ldml-referenceseparator"&gt;;&lt;/span&gt; &lt;span class="ldml-signal"&gt;&lt;i class="ldml-italics"&gt;see also&lt;/i&gt;&lt;/span&gt; &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="embeddedsentence_5293"&gt;&lt;span class="ldml-cite"&gt;§ 39-10-106&lt;span class="ldml-parenthetical"&gt;(5)&lt;/span&gt;, C.R.S.&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-date"&gt;2022&lt;/span&gt;)&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-embeddedsentence"&gt;" ‘&lt;span class="ldml-parenthetical"&gt;[U]&lt;/span&gt;nit’ means any single oil, gas, or other hydrocarbon well or field which has multiple ownership, or any combination of oil, gas, or other hydrocarbon wells, fields, and properties consolidated into a single operation, whether by a formal agreement or otherwise ...."&lt;/span&gt;)&lt;/span&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="4997" data-sentence-id="5568" class="ldml-sentence"&gt;&lt;span class="ldml-quotation quote"&gt;"Units are created for the purpose of efficiently extracting resources from the reservoir through coordinated engineering and operation."&lt;/span&gt;&lt;/span&gt; &lt;span data-paragraph-id="4997" data-sentence-id="5706" class="ldml-sentence"&gt;&lt;span class="ldml-referencechain"&gt;&lt;i class="ldml-italics"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-refglobal="case:kindermorganco2co,lpvmontezumacntybdofcommrs,2017co72" data-prop-ids="sentence_5706"&gt;&lt;span class="ldml-refname"&gt;Kinder Morgan&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;,&lt;/i&gt; &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_5706"&gt;&lt;span class="ldml-cite"&gt;¶ 12&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;/span&gt; n.4, &lt;span class="ldml-entity"&gt;&lt;a href="/vid/893325068" data-vids="893325068" class="ldml-reference" data-prop-ids="sentence_5706"&gt;&lt;span class="ldml-cite"&gt;396 P.3d at 662 n.4&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="4997" data-sentence-id="5752" class="ldml-sentence"&gt;And, though the fractional interests in a unit may be owned by many entities, a single unit operator often handles the day-to-day operations.&lt;/span&gt; &lt;span data-paragraph-id="4997" data-sentence-id="5894" class="ldml-sentence"&gt;&lt;span class="ldml-referencechain"&gt;&lt;span class="ldml-entity"&gt;&lt;a href="/vid/893325068" data-vids="893325068" class="ldml-reference" data-prop-ids="sentence_5752"&gt;&lt;span class="ldml-cite"&gt;&lt;i class="ldml-italics"&gt;Id.&lt;/i&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; &lt;span class="ldml-referenceseparator"&gt;;&lt;/span&gt; &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="embeddedsentence_5912,sentence_5752"&gt;&lt;span class="ldml-cite"&gt;3 ARL 6.25&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-embeddedsentence"&gt;defining &lt;span class="ldml-quotation quote"&gt;"&lt;span class="ldml-parenthetical"&gt;[o]&lt;/span&gt;perator"&lt;/span&gt; as &lt;span class="ldml-quotation quote"&gt;"any person responsible for the day-to-day operation of a well by reason of contract, lease, or operating agreement"&lt;/span&gt;&lt;/span&gt;)&lt;/span&gt;&lt;/span&gt;.&lt;/span&gt;&lt;/p&gt;&lt;p data-paragraph-id="6055" class="ldml-paragraph "&gt;&lt;span data-paragraph-id="6055" data-sentence-id="6055" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_6055"&gt;&lt;span class="ldml-cite"&gt;¶7&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; Once a year, every unit operator is responsible for preparing, signing, and filing a statement &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-quotation quote"&gt;"Annual Statement"&lt;/span&gt;)&lt;/span&gt; with the local county assessor.&lt;/span&gt; &lt;span data-paragraph-id="6055" data-sentence-id="6206" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_6055"&gt;&lt;span class="ldml-cite"&gt;§ 39-7-101&lt;span class="ldml-parenthetical"&gt;(1)&lt;/span&gt;, C.R.S.&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-date"&gt;2022&lt;/span&gt;)&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="6055" data-sentence-id="6236" class="ldml-sentence"&gt;The Annual Statement must include, among other things, the &lt;span class="ldml-quotation quote"&gt;"selling price &lt;span class="ldml-parenthetical"&gt;[of oil or gas]&lt;/span&gt; at the wellhead,"&lt;/span&gt; also known as the &lt;span class="ldml-quotation quote"&gt;"net taxable revenues."&lt;/span&gt;&lt;/span&gt; &lt;span data-paragraph-id="6055" data-sentence-id="6386" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_6236"&gt;&lt;span class="ldml-cite"&gt;§ 39-7-101&lt;span class="ldml-parenthetical"&gt;(1)&lt;/span&gt;&lt;span class="ldml-parenthetical"&gt;(d)&lt;/span&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="6055" data-sentence-id="6404" class="ldml-sentence"&gt;This information is important because &lt;span class="ldml-quotation quote"&gt;"&lt;span class="ldml-parenthetical"&gt;[o]&lt;/span&gt;il and gas leaseholds are subject to taxation as real property,"&lt;/span&gt; &lt;span class="ldml-referencechain"&gt;&lt;i class="ldml-italics"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-refglobal="case:kindermorganco2co,lpvmontezumacntybdofcommrs,2017co72" data-prop-ids="sentence_6404"&gt;&lt;span class="ldml-refname"&gt;Kinder Morgan&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;,&lt;/i&gt; &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_6404"&gt;&lt;span class="ldml-cite"&gt;¶ 4&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;/span&gt;, &lt;span class="ldml-entity"&gt;&lt;a href="/vid/893325068" data-vids="893325068" class="ldml-reference" data-prop-ids="sentence_6404"&gt;&lt;span class="ldml-cite"&gt;396 P.3d at 660&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;, and taxes for these leaseholds are determined based on the selling price at the wellhead, &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_6404"&gt;&lt;span class="ldml-cite"&gt;§ 39-7-101&lt;span class="ldml-parenthetical"&gt;(1)&lt;/span&gt;&lt;span class="ldml-parenthetical"&gt;(d)&lt;/span&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt;&lt;/p&gt;&lt;p data-paragraph-id="6655" class="ldml-paragraph "&gt;&lt;span data-paragraph-id="6655" data-sentence-id="6655" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_6655"&gt;&lt;span class="ldml-cite"&gt;¶8&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; &lt;span class="ldml-quotation quote"&gt;"The sale of unprocessed oil or gas, however, rarely occurs at the wellhead; instead, the oil or gas is typically gathered from multiple wells, processed, and transported away from the wellsite before sale."&lt;/span&gt;&lt;/span&gt; &lt;span data-paragraph-id="6655" data-sentence-id="6866" class="ldml-sentence"&gt;&lt;span class="ldml-referencechain"&gt;&lt;i class="ldml-italics"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-refglobal="case:kindermorganco2co,lpvmontezumacntybdofcommrs,2017co72" data-prop-ids="sentence_6655"&gt;&lt;span class="ldml-refname"&gt;Kinder Morgan&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;,&lt;/i&gt; &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_6655"&gt;&lt;span class="ldml-cite"&gt;¶ 8&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;/span&gt;, &lt;span class="ldml-entity"&gt;&lt;a href="/vid/893325068" data-vids="893325068" class="ldml-reference"&gt;&lt;span class="ldml-cite"&gt;396 P.3d at 661&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="6655" data-sentence-id="6903" class="ldml-sentence"&gt;&lt;span class="ldml-quotation quote"&gt;"As a result, an operator typically must estimate its &lt;span class="ldml-pagenumber" data-rep="P.3d" data-page_type="bracketed_cite" data-vol="527" data-val="374" data-id="pagenumber_6957"&gt;&lt;/span&gt; &lt;span class="ldml-quotation quote"&gt;‘selling price at the wellhead’&lt;/span&gt; for purposes of &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_6903"&gt;&lt;span class="ldml-cite"&gt;section 39-7-101&lt;span class="ldml-parenthetical"&gt;(1)&lt;/span&gt;&lt;span class="ldml-parenthetical"&gt;(d)&lt;/span&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; by deducting from its final, downstream selling price the costs of gathering, processing, and transporting the extracted material."&lt;/span&gt;&lt;/span&gt; &lt;span data-paragraph-id="6655" data-sentence-id="7161" class="ldml-sentence"&gt;&lt;span class="ldml-referencechain"&gt;&lt;i class="ldml-italics"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-refglobal="case:kindermorganco2co,lpvmontezumacntybdofcommrs,2017co72" data-prop-ids="sentence_6903"&gt;&lt;span class="ldml-refname"&gt;Kinder Morgan&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;,&lt;/i&gt; &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_6903"&gt;&lt;span class="ldml-cite"&gt;¶ 8&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;/span&gt;, &lt;span class="ldml-referencechain"&gt;&lt;span class="ldml-entity"&gt;&lt;a href="/vid/893325068" data-vids="893325068" class="ldml-reference"&gt;&lt;span class="ldml-cite"&gt;396 P.3d at 661&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-cert"&gt;quoting&lt;/span&gt; &lt;span class="ldml-entity"&gt;&lt;a href="/vid/893143146" data-vids="893143146" class="ldml-reference"&gt;&lt;i class="ldml-italics"&gt;&lt;span class="ldml-refname"&gt;Wash. Cnty. Bd. of Equalization v. Petron Dev. Co.&lt;/span&gt;,&lt;/i&gt; &lt;span class="ldml-cite"&gt;109 P.3d 146, 153&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-court"&gt;Colo.&lt;/span&gt; &lt;span class="ldml-date"&gt;2005&lt;/span&gt;)&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; )&lt;/span&gt;&lt;span class="ldml-referenceseparator"&gt;;&lt;/span&gt; &lt;span class="ldml-signal"&gt;&lt;i class="ldml-italics"&gt;see&lt;/i&gt;&lt;/span&gt; &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="embeddedsentence_7314"&gt;&lt;span class="ldml-cite"&gt;§ 39-7-101&lt;span class="ldml-parenthetical"&gt;(1)&lt;/span&gt;&lt;span class="ldml-parenthetical"&gt;(d)&lt;/span&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-quotation quote"&gt;&lt;span class="ldml-embeddedsentence"&gt;"The net taxable revenues shall be equal to the gross lease revenues, minus deductions for gathering, transportation, manufacturing, and processing costs borne by the taxpayer pursuant to guidelines established by the &lt;span class="ldml-parenthetical"&gt;[Property Tax Administrator]&lt;/span&gt;."&lt;/span&gt;&lt;/span&gt;)&lt;/span&gt;&lt;/span&gt;&lt;/span&gt;&lt;span data-paragraph-id="6655" data-sentence-id="7563" class="ldml-sentence"&gt;.&lt;/span&gt;&lt;/p&gt;&lt;p data-paragraph-id="7564" class="ldml-paragraph "&gt;&lt;span data-paragraph-id="7564" data-sentence-id="7564" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_7564"&gt;&lt;span class="ldml-cite"&gt;¶9&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; The assessor uses the Annual Statement to &lt;span class="ldml-quotation quote"&gt;"value such oil and gas leaseholds and lands for assessment."&lt;/span&gt;&lt;/span&gt; &lt;span data-paragraph-id="7564" data-sentence-id="7671" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_7564"&gt;&lt;span class="ldml-cite"&gt;§ 39-7-102&lt;span class="ldml-parenthetical"&gt;(1)&lt;/span&gt;, C.R.S.&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-date"&gt;2022&lt;/span&gt;)&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="7564" data-sentence-id="7701" class="ldml-sentence"&gt;The assessment is then used to calculate property taxes.&lt;/span&gt; &lt;span data-paragraph-id="7564" data-sentence-id="7758" class="ldml-sentence"&gt;&lt;span class="ldml-referencechain"&gt;&lt;span class="ldml-signal"&gt;&lt;i class="ldml-italics"&gt;See&lt;/i&gt;&lt;/span&gt; &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_7701"&gt;&lt;span class="ldml-cite"&gt;§§ 39-7-101&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;/span&gt; to - 102 &lt;span class="ldml-referencechain"&gt;&lt;span class="ldml-referenceseparator"&gt;;&lt;/span&gt; &lt;i class="ldml-italics"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-refglobal="case:kindermorganco2co,lpvmontezumacntybdofcommrs,2017co72"&gt;&lt;span class="ldml-refname"&gt;Kinder Morgan&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;,&lt;/i&gt; &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference"&gt;&lt;span class="ldml-cite"&gt;¶ 7&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;/span&gt;, &lt;span class="ldml-entity"&gt;&lt;a href="/vid/893325068" data-vids="893325068" class="ldml-reference"&gt;&lt;span class="ldml-cite"&gt;396 P.3d at 661&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt;&lt;/p&gt;&lt;p data-paragraph-id="7821" class="ldml-paragraph "&gt;&lt;span data-paragraph-id="7821" data-sentence-id="7821" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_7821"&gt;&lt;span class="ldml-cite"&gt;¶10&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; Unit operators are responsible for collecting these taxes from all of the nonoperating fractional interest owners and remitting the total amount owed to the county treasurer.&lt;/span&gt; &lt;span data-paragraph-id="7821" data-sentence-id="8000" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_7821"&gt;&lt;span class="ldml-cite"&gt;§ 39-10-106&lt;span class="ldml-parenthetical"&gt;(2)&lt;/span&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt;&lt;/p&gt;&lt;/div&gt;&lt;div class="ldml-section"&gt;&lt;section class="ldml-heading content__heading content__heading--depth1" data-specifier="II" data-confidences="very_high" data-types="background" data-parsed="true" data-content-heading-label="II. Facts and Procedural History" data-format="upper_case_roman_numeral" data-value="II. Facts and Procedural History" data-ordinal_end="2" id="heading_8015" data-id="heading_8015" data-ordinal_start="2"&gt;&lt;span data-paragraph-id="8015" class="ldml-paragraph "&gt;&lt;b class="ldml-bold"&gt;&lt;span data-paragraph-id="8015" data-sentence-id="8015" class="ldml-sentence"&gt;II.&lt;/span&gt; &lt;span data-paragraph-id="8015" data-sentence-id="8019" class="ldml-sentence"&gt;Facts and Procedural History&lt;/span&gt;&lt;/b&gt;&lt;/span&gt;&lt;/section&gt;&lt;p data-paragraph-id="8047" class="ldml-paragraph "&gt;&lt;span data-paragraph-id="8047" data-sentence-id="8047" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_8047"&gt;&lt;span class="ldml-cite"&gt;¶11&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; Kinder Morgan is a 44% fractional interest owner in the McElmo Dome unit.&lt;/span&gt; &lt;span data-paragraph-id="8047" data-sentence-id="8125" class="ldml-sentence"&gt;The members of CO&lt;sub class="ldml-subscript"&gt;2&lt;/sub&gt; are nonoperating working interest owners who collectively own an 11.224% fractional interest in the unit.&lt;a href="#note-fr1" class="ldml-noteanchor" id="note-ref-fr1"&gt;1&lt;/a&gt;&lt;/span&gt; &lt;span data-paragraph-id="8047" data-sentence-id="8250" class="ldml-sentence"&gt;Many other entities own fractional interests, either working interests or royalty interests, in the unit.&lt;/span&gt; &lt;span data-paragraph-id="8047" data-sentence-id="8356" class="ldml-sentence"&gt;As the operator of the McElmo Dome unit, Kinder Morgan extracts and compresses carbon dioxide and then transports it by pipeline to Texas where it is sold for use in oil and gas operations.&lt;/span&gt; &lt;span data-paragraph-id="8047" data-sentence-id="8546" class="ldml-sentence"&gt;Kinder Morgan also pays for the unit's facilities and equipment, supplies labor, and &lt;span class="ldml-entity"&gt;bills&lt;/span&gt; the other fractional interest owners for expenses associated with operating the unit and arranging for transportation of the carbon dioxide to the point of sale.&lt;/span&gt; &lt;span data-paragraph-id="8047" data-sentence-id="8799" class="ldml-sentence"&gt;Further, as the unit operator, Kinder Morgan files the Annual Statement for the unit and pays the entire amount of property taxes due on behalf of all of the interest owners in the unit.&lt;/span&gt;&lt;/p&gt;&lt;p data-paragraph-id="8985" class="ldml-paragraph "&gt;&lt;span data-paragraph-id="8985" data-sentence-id="8985" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_8985"&gt;&lt;span class="ldml-cite"&gt;¶12&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; In &lt;span class="ldml-entity"&gt;2009&lt;/span&gt;, the &lt;span class="ldml-entity"&gt;Montezuma County&lt;/span&gt; tax assessor &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-quotation quote"&gt;"the assessor"&lt;/span&gt;)&lt;/span&gt; audited the Annual Statement that Kinder Morgan filed on behalf of the McElmo Dome unit for the &lt;span class="ldml-entity"&gt;2008&lt;/span&gt; tax year and determined that Kinder Morgan had underreported the value of gas produced at the unit's leaseholds by improperly deducting certain costs that it, as the unit operator, was not entitled to deduct.&lt;/span&gt; &lt;span data-paragraph-id="8985" data-sentence-id="9359" class="ldml-sentence"&gt;The assessor, accordingly, retroactively increased its valuation of the unit by $57 million, which, in turn, increased the overall tax liability for the unit by more than $2 million.&lt;/span&gt; &lt;span data-paragraph-id="8985" data-sentence-id="9542" class="ldml-sentence"&gt;Kinder Morgan paid the additional tax &lt;span class="ldml-entity"&gt;bill&lt;/span&gt; and subsequently unsuccessfully appealed the retroactive assessment, &lt;span class="ldml-referencechain"&gt;&lt;i class="ldml-italics"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-refglobal="case:kindermorganco2co,lpvmontezumacntybdofcommrs,2017co72" data-prop-ids="sentence_9542"&gt;&lt;span class="ldml-refname"&gt;Kinder Morgan&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;,&lt;/i&gt; &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_9542"&gt;&lt;span class="ldml-cite"&gt;¶¶ 40–41&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;/span&gt;, &lt;span class="ldml-entity"&gt;&lt;a href="/vid/893325068" data-vids="893325068" class="ldml-reference" data-prop-ids="sentence_9542"&gt;&lt;span class="ldml-cite"&gt;396 P.3d at 667–68&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;, after which it appears to have charged the fractional interest owners for their proportionate share of the taxes.&lt;/span&gt;&lt;/p&gt;&lt;p data-paragraph-id="9812" class="ldml-paragraph "&gt;&lt;span data-paragraph-id="9812" data-sentence-id="9812" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_9812"&gt;&lt;span class="ldml-cite"&gt;¶13&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; Then, in &lt;span class="ldml-entity"&gt;January 2018&lt;/span&gt;—after Kinder Morgan lost on appeal—CO&lt;sub class="ldml-subscript"&gt;2&lt;/sub&gt; filed an objection with the assessor, claiming that the assessor had wrongfully determined that CO&lt;sub class="ldml-subscript"&gt;2&lt;/sub&gt;'s members had underreported the selling price at the wellhead.&lt;/span&gt; &lt;span data-paragraph-id="9812" data-sentence-id="10040" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;According to CO&lt;/span&gt;&lt;sub class="ldml-subscript"&gt;2&lt;/sub&gt;, the assessor responded that it could not establish that CO&lt;sub class="ldml-subscript"&gt;2&lt;/sub&gt;'s members should be treated differently from Kinder Morgan for the purpose of computing the selling price at the wellhead and that separate special notices of valuation were never sent to CO&lt;sub class="ldml-subscript"&gt;2&lt;/sub&gt;'s members because the assessor was not required to do &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference"&gt;&lt;span class="ldml-cite"&gt;so. CO&lt;sub class="ldml-subscript"&gt;2&lt;/sub&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; next appealed to the &lt;span class="ldml-entity"&gt;County Board of Equalization&lt;/span&gt; pursuant to &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_10040"&gt;&lt;span class="ldml-cite"&gt;sections 39-8-106&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;, C.R.S. &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-entity"&gt;2022&lt;/span&gt;)&lt;/span&gt;, and 39-1-113, C.R.S. &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-entity"&gt;2022&lt;/span&gt;)&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="9812" data-sentence-id="10497" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;According to CO&lt;/span&gt;&lt;sub class="ldml-subscript"&gt;2&lt;/sub&gt;, the &lt;span class="ldml-entity"&gt;Board of Equalization&lt;/span&gt; responded that the assessor did not send notices of valuation to CO&lt;sub class="ldml-subscript"&gt;2&lt;/sub&gt; or its members as &lt;span class="ldml-entity"&gt;they&lt;/span&gt; were not identified as &lt;span class="ldml-entity"&gt;Montezuma County&lt;/span&gt; taxpayers.&lt;/span&gt;&lt;/p&gt;&lt;p data-paragraph-id="10683" class="ldml-paragraph "&gt;&lt;span data-paragraph-id="10683" data-sentence-id="10683" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_10683"&gt;&lt;span class="ldml-cite"&gt;¶14&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; CO&lt;sub class="ldml-subscript"&gt;2&lt;/sub&gt; then commenced this litigation, claiming that &lt;span class="ldml-entity"&gt;Montezuma County&lt;/span&gt; violated its civil rights under &lt;span class="ldml-entity"&gt;&lt;a href="/vid/944676263" data-vids="944676263" class="ldml-reference" data-prop-ids="sentence_10683"&gt;&lt;span class="ldml-cite"&gt;42 U.S.C. § 1983&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; by failing to provide due process and an opportunity for CO&lt;sub class="ldml-subscript"&gt;2&lt;/sub&gt;'s members to separately challenge the retroactive assessment and property tax increase.&lt;/span&gt; &lt;span data-paragraph-id="10683" data-sentence-id="10952" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;Montezuma County&lt;/span&gt; filed a &lt;span class="ldml-entity"&gt;motion to dismiss&lt;/span&gt;, arguing that, as pertinent here, &lt;span class="ldml-pagenumber" data-rep="P.3d" data-page_type="bracketed_cite" data-vol="527" data-val="375" data-id="pagenumber_11029"&gt;&lt;/span&gt; CO&lt;sub class="ldml-subscript"&gt;2&lt;/sub&gt;'s members were not responsible for paying the taxes and thus did not have standing to seek abatement.&lt;/span&gt; &lt;span data-paragraph-id="10683" data-sentence-id="11136" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;The trial court&lt;/span&gt; granted &lt;span class="ldml-entity"&gt;Montezuma County&lt;/span&gt;'s motion and dismissed CO&lt;sub class="ldml-subscript"&gt;2&lt;/sub&gt;'s complaint.&lt;/span&gt;&lt;/p&gt;&lt;p data-paragraph-id="11216" class="ldml-paragraph "&gt;&lt;span data-paragraph-id="11216" data-sentence-id="11216" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_11216"&gt;&lt;span class="ldml-cite"&gt;¶15&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; CO&lt;sub class="ldml-subscript"&gt;2&lt;/sub&gt; appealed, and a unanimous division of &lt;span class="ldml-entity"&gt;the court of appeals&lt;/span&gt; reversed.&lt;/span&gt; &lt;span data-paragraph-id="11216" data-sentence-id="11293" class="ldml-sentence"&gt;&lt;span class="ldml-referencechain"&gt;&lt;i class="ldml-italics"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-refglobal="case:co2comm,incvmontezumacounty,2021coa36m" data-prop-ids="sentence_11216"&gt;&lt;span class="ldml-refname"&gt;CO&lt;sub class="ldml-subscript"&gt;2&lt;/sub&gt; Comm.&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;,&lt;/i&gt; &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_11216"&gt;&lt;span class="ldml-cite"&gt;¶ 4&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;/span&gt;, &lt;span class="ldml-entity"&gt;&lt;a href="/vid/887065073" data-vids="887065073" class="ldml-reference"&gt;&lt;span class="ldml-cite"&gt;491 P.3d at 519&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="11216" data-sentence-id="11326" class="ldml-sentence"&gt;The division concluded that CO&lt;sub class="ldml-subscript"&gt;2&lt;/sub&gt; had standing because it suffered an injury in fact and because it had a legally protected interest.&lt;/span&gt; &lt;span data-paragraph-id="11216" data-sentence-id="11458" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a href="/vid/887065073" data-vids="887065073" class="ldml-reference" data-prop-ids="sentence_11458"&gt;&lt;span class="ldml-cite"&gt;&lt;i class="ldml-italics"&gt;Id.&lt;/i&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; at &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_11458"&gt;&lt;span class="ldml-cite"&gt;¶¶ 34&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;, 37, &lt;span class="ldml-entity"&gt;&lt;a href="/vid/887065073" data-vids="887065073" class="ldml-reference" data-prop-ids="sentence_11458"&gt;&lt;span class="ldml-cite"&gt;491 P.3d at 523&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="11216" data-sentence-id="11493" class="ldml-sentence"&gt;In concluding that CO&lt;sub class="ldml-subscript"&gt;2&lt;/sub&gt; had a legally protected interest, the division explained that &lt;span class="ldml-quotation quote"&gt;"each nonoperating fractional interest owner who pays taxes is entitled to the panoply of rights afforded a &lt;span class="ldml-quotation quote"&gt;‘property owner,’&lt;/span&gt; &lt;span class="ldml-quotation quote"&gt;‘person,’&lt;/span&gt; or &lt;span class="ldml-quotation quote"&gt;‘taxpayer’&lt;/span&gt; under the review, audit, protest, abatement, and appeal procedures detailed in &lt;span class="ldml-entity"&gt;the statutes&lt;/span&gt; and guidelines."&lt;/span&gt;&lt;/span&gt; &lt;span data-paragraph-id="11216" data-sentence-id="11837" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a href="/vid/887065073" data-vids="887065073" class="ldml-reference" data-prop-ids="sentence_11837"&gt;&lt;span class="ldml-cite"&gt;&lt;i class="ldml-italics"&gt;Id.&lt;/i&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; at &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_11837"&gt;&lt;span class="ldml-cite"&gt;¶ 37&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;, &lt;span class="ldml-entity"&gt;&lt;a href="/vid/887065073" data-vids="887065073" class="ldml-reference" data-prop-ids="sentence_11837"&gt;&lt;span class="ldml-cite"&gt;491 P.3d at 523&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt;&lt;/p&gt;&lt;p data-paragraph-id="11866" class="ldml-paragraph "&gt;&lt;span data-paragraph-id="11866" data-sentence-id="11866" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_11866"&gt;&lt;span class="ldml-cite"&gt;¶16&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; The Colorado Property Tax Administrator &lt;span class="ldml-parenthetical"&gt;(the &lt;span class="ldml-quotation quote"&gt;"&lt;span class="ldml-localname"&gt;Administrator&lt;/span&gt;"&lt;/span&gt;)&lt;/span&gt; filed a &lt;span class="ldml-entity"&gt;motion to intervene&lt;/span&gt;, which &lt;span class="ldml-entity"&gt;we&lt;/span&gt; granted, and petitioned for certiorari review.&lt;/span&gt; &lt;span data-paragraph-id="11866" data-sentence-id="12017" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;We&lt;/span&gt; granted certiorari.&lt;a href="#note-fr2" class="ldml-noteanchor" id="note-ref-fr2"&gt;2&lt;/a&gt;&lt;/span&gt; &lt;/p&gt;&lt;/div&gt;&lt;div class="ldml-section"&gt;&lt;section class="ldml-heading content__heading content__heading--depth1" data-specifier="III" data-confidences="medium" data-types="analysis" data-parsed="true" data-content-heading-label="III. Standing Analysis" data-format="upper_case_roman_numeral" data-value="III. Standing Analysis" data-ordinal_end="3" id="heading_12040" data-id="heading_12040" data-ordinal_start="3"&gt;&lt;span data-paragraph-id="12040" class="ldml-paragraph "&gt;&lt;b class="ldml-bold"&gt;&lt;span data-paragraph-id="12040" data-sentence-id="12040" class="ldml-sentence"&gt;III.&lt;/span&gt; &lt;span data-paragraph-id="12040" data-sentence-id="12045" class="ldml-sentence"&gt;Standing Analysis&lt;/span&gt;&lt;/b&gt;&lt;/span&gt;&lt;/section&gt;&lt;p data-paragraph-id="12062" class="ldml-paragraph "&gt; &lt;span data-paragraph-id="12062" data-sentence-id="12063" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_12063"&gt;&lt;span class="ldml-cite"&gt;¶17&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; The sole issue before &lt;span class="ldml-entity"&gt;us&lt;/span&gt; is whether nonoperating fractional interest owners in an oil and gas unit have standing to independently challenge a retroactive assessment and property tax increase.&lt;/span&gt; &lt;span data-paragraph-id="12062" data-sentence-id="12259" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;We&lt;/span&gt; conclude that &lt;span class="ldml-entity"&gt;they&lt;/span&gt; do not.&lt;/span&gt;&lt;/p&gt;&lt;div class="ldml-section"&gt;&lt;section class="ldml-heading content__heading content__heading--depth2" data-specifier="A" data-confidences="very_high" data-types="standardofreview" data-parsed="true" data-content-heading-label="A. Standard of Review" data-format="upper_case_letters" data-value="A. Standard of Review" data-ordinal_end="1" id="heading_12288" data-id="heading_12288" data-ordinal_start="1"&gt;&lt;span data-paragraph-id="12288" class="ldml-paragraph "&gt;&lt;b class="ldml-bold"&gt;&lt;span data-paragraph-id="12288" data-sentence-id="12288" class="ldml-sentence"&gt;A.&lt;/span&gt; &lt;span data-paragraph-id="12288" data-sentence-id="12291" class="ldml-sentence"&gt;Standard of Review&lt;/span&gt;&lt;/b&gt;&lt;/span&gt;&lt;/section&gt;&lt;p data-paragraph-id="12309" class="ldml-paragraph "&gt; &lt;span data-paragraph-id="12309" data-sentence-id="12310" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_12310"&gt;&lt;span class="ldml-cite"&gt;¶18&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; &lt;span class="ldml-quotation quote"&gt;"Whether &lt;span class="ldml-entity"&gt;a plaintiff&lt;/span&gt; has standing to sue is a question of law that &lt;span class="ldml-entity"&gt;we&lt;/span&gt; review de novo."&lt;/span&gt;&lt;/span&gt; &lt;span data-paragraph-id="12309" data-sentence-id="12401" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a href="/vid/888561647" data-vids="888561647" class="ldml-reference" data-prop-ids="sentence_12310"&gt;&lt;span class="ldml-refname"&gt;&lt;i class="ldml-italics"&gt;Barber v. Ritter&lt;/i&gt;&lt;/span&gt; , &lt;span class="ldml-cite"&gt;196 P.3d 238, 245&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-court"&gt;Colo.&lt;/span&gt; &lt;span class="ldml-date"&gt;2008&lt;/span&gt;)&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="12309" data-sentence-id="12452" class="ldml-sentence"&gt;&lt;span class="ldml-quotation quote"&gt;"In determining whether standing has been established, &lt;span class="ldml-entity"&gt;we&lt;/span&gt; accept as true all material allegations of fact in the complaint."&lt;/span&gt;&lt;/span&gt; &lt;span data-paragraph-id="12309" data-sentence-id="12577" class="ldml-sentence"&gt;&lt;span class="ldml-referencechain"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-refglobal="case:reeves-toneyvschdistno1incitycntyofdenver,2019co40" data-prop-ids="sentence_12452"&gt;&lt;i class="ldml-italics"&gt;&lt;span class="ldml-refname"&gt;Reeves-Toney v. Sch. Dist. No. 1&lt;/span&gt;,&lt;/i&gt; &lt;span class="ldml-cite"&gt;2019 CO 40&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;, &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_12452"&gt;&lt;span class="ldml-cite"&gt;¶ 20&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;/span&gt;, &lt;span class="ldml-entity"&gt;&lt;a href="/vid/888081740" data-vids="888081740" class="ldml-reference"&gt;&lt;span class="ldml-cite"&gt;442 P.3d 81, 85&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt;&lt;/p&gt;&lt;/div&gt;&lt;div class="ldml-section"&gt;&lt;section class="ldml-heading content__heading content__heading--depth2" data-value="B. Standing Principles" data-parsed="true" data-content-heading-label="B. Standing Principles" data-specifier="B" data-format="upper_case_letters" data-ordinal_end="2" id="heading_12645" data-id="heading_12645" data-ordinal_start="2"&gt;&lt;span data-paragraph-id="12645" class="ldml-paragraph "&gt;&lt;b class="ldml-bold"&gt;&lt;span data-paragraph-id="12645" data-sentence-id="12645" class="ldml-sentence"&gt;B.&lt;/span&gt; &lt;span data-paragraph-id="12645" data-sentence-id="12648" class="ldml-sentence"&gt;Standing Principles&lt;/span&gt;&lt;/b&gt;&lt;/span&gt;&lt;/section&gt;&lt;p data-paragraph-id="12667" class="ldml-paragraph "&gt; &lt;span data-paragraph-id="12667" data-sentence-id="12668" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_12668"&gt;&lt;span class="ldml-cite"&gt;¶19&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; &lt;span class="ldml-quotation quote"&gt;"Standing is a threshold issue that must be satisfied in order for &lt;span class="ldml-entity"&gt;a court&lt;/span&gt; to decide &lt;span class="ldml-entity"&gt;a case&lt;/span&gt; on the merits."&lt;/span&gt;&lt;/span&gt; &lt;span data-paragraph-id="12667" data-sentence-id="12780" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_12780"&gt;&lt;span class="ldml-cite"&gt;&lt;i class="ldml-italics"&gt;Id.&lt;/i&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; at &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_12780"&gt;&lt;span class="ldml-cite"&gt;¶ 21&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;, &lt;span class="ldml-entity"&gt;&lt;a href="/vid/888081740" data-vids="888081740" class="ldml-reference" data-prop-ids="sentence_12780"&gt;&lt;span class="ldml-cite"&gt;442 P.3d at 85&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="12667" data-sentence-id="12809" class="ldml-sentence"&gt;A standing inquiry assesses a litigant's right to raise a legal claim.&lt;/span&gt; &lt;span data-paragraph-id="12667" data-sentence-id="12880" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a href="/vid/890694004" data-vids="890694004" class="ldml-reference" data-prop-ids="sentence_12809"&gt;&lt;i class="ldml-italics"&gt;&lt;span class="ldml-refname"&gt;City of Greenwood Vill. v. Petitioners for the Proposed City of Centennial&lt;/span&gt;,&lt;/i&gt; &lt;span class="ldml-cite"&gt;3 P.3d 427, 436&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-court"&gt;Colo.&lt;/span&gt; &lt;span class="ldml-date"&gt;2000&lt;/span&gt;)&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="12667" data-sentence-id="12986" class="ldml-sentence"&gt;To have standing, &lt;span class="ldml-entity"&gt;a plaintiff&lt;/span&gt; must demonstrate that &lt;span class="ldml-parenthetical"&gt;(1)&lt;/span&gt; &lt;span class="ldml-entity"&gt;they&lt;/span&gt; have suffered an injury in fact from the challenged action and &lt;span class="ldml-parenthetical"&gt;(2)&lt;/span&gt; the injury is to a legally protected interest.&lt;/span&gt; &lt;span data-paragraph-id="12667" data-sentence-id="13161" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a href="/vid/892237094" data-vids="892237094" class="ldml-reference" data-prop-ids="sentence_12986"&gt;&lt;i class="ldml-italics"&gt;&lt;span class="ldml-refname"&gt;Ainscough v. Owens&lt;/span&gt;,&lt;/i&gt; &lt;span class="ldml-cite"&gt;90 P.3d 851, 855&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-court"&gt;Colo.&lt;/span&gt; &lt;span class="ldml-date"&gt;2004&lt;/span&gt;)&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt;&lt;/p&gt;&lt;p data-paragraph-id="13211" class="ldml-paragraph "&gt; &lt;span data-paragraph-id="13211" data-sentence-id="13212" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_13212"&gt;&lt;span class="ldml-cite"&gt;¶20&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; Our standing test includes a constitutional requirement and a prudential requirement.&lt;/span&gt; &lt;span data-paragraph-id="13211" data-sentence-id="13302" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a href="/vid/892237094" data-vids="892237094" class="ldml-reference" data-prop-ids="sentence_13212"&gt;&lt;span class="ldml-cite"&gt;&lt;i class="ldml-italics"&gt;Id.&lt;/i&gt; at 855–56&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="13211" data-sentence-id="13317" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_13317"&gt;&lt;span class="ldml-cite"&gt;Article III of the Colorado Constitution&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; requires &lt;span class="ldml-entity"&gt;a plaintiff&lt;/span&gt; to demonstrate that &lt;span class="ldml-entity"&gt;they&lt;/span&gt; have suffered an injury in fact as a result of the challenged action.&lt;/span&gt; &lt;span data-paragraph-id="13211" data-sentence-id="13474" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a href="/vid/892237094" data-vids="892237094" class="ldml-reference" data-prop-ids="sentence_13317"&gt;&lt;span class="ldml-cite"&gt;&lt;i class="ldml-italics"&gt;Id.&lt;/i&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;/span&gt; &lt;span data-paragraph-id="13211" data-sentence-id="13478" class="ldml-sentence"&gt;The injury-in-fact requirement mandates that &lt;span class="ldml-entity"&gt;the plaintiff&lt;/span&gt;'s alleged injury is not &lt;span class="ldml-quotation quote"&gt;"overly &lt;span class="ldml-quotation quote"&gt;‘indirect and incidental’&lt;/span&gt; to &lt;span class="ldml-entity"&gt;the defendant&lt;/span&gt;'s action."&lt;/span&gt;&lt;/span&gt; &lt;span data-paragraph-id="13211" data-sentence-id="13623" class="ldml-sentence"&gt;&lt;span class="ldml-referencechain"&gt;&lt;span class="ldml-entity"&gt;&lt;a href="/vid/892237094" data-vids="892237094" class="ldml-reference" data-prop-ids="sentence_13478"&gt;&lt;span class="ldml-cite"&gt;&lt;i class="ldml-italics"&gt;Id.&lt;/i&gt; at 856&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-cert"&gt;quoting&lt;/span&gt; &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-refglobal="case:brotmanvelakecreekranch,llp,31p3d886,890–91colo2001" data-prop-ids="sentence_13478"&gt;&lt;i class="ldml-italics"&gt;&lt;span class="ldml-refname"&gt;Brotman v. E. Lake Creek Ranch, L.L.P.&lt;/span&gt;,&lt;/i&gt; &lt;span class="ldml-cite"&gt;31 P.3d 886, 890–91&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-court"&gt;Colo.&lt;/span&gt; &lt;span class="ldml-date"&gt;2001&lt;/span&gt;)&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; )&lt;/span&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="13211" data-sentence-id="13719" class="ldml-sentence"&gt;Our jurisprudence also requires that &lt;span class="ldml-entity"&gt;the plaintiff&lt;/span&gt;'s injury be to a legally protected interest.&lt;/span&gt; &lt;span data-paragraph-id="13211" data-sentence-id="13815" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a href="/vid/892237094" data-vids="892237094" class="ldml-reference" data-prop-ids="sentence_13719"&gt;&lt;span class="ldml-cite"&gt;&lt;i class="ldml-italics"&gt;Id.&lt;/i&gt; at 855&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="13211" data-sentence-id="13827" class="ldml-sentence"&gt;Under the legally-protected-interest prong, the question is &lt;span class="ldml-quotation quote"&gt;"whether &lt;span class="ldml-entity"&gt;the plaintiff&lt;/span&gt; has a claim for relief under &lt;span class="ldml-entity"&gt;the constitution&lt;/span&gt;, the common law, &lt;span class="ldml-entity"&gt;a statute&lt;/span&gt;, or a rule or regulation."&lt;/span&gt;&lt;/span&gt; &lt;span data-paragraph-id="13211" data-sentence-id="14010" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a href="/vid/892237094" data-vids="892237094" class="ldml-reference" data-prop-ids="sentence_13827"&gt;&lt;span class="ldml-cite"&gt;&lt;i class="ldml-italics"&gt;Id.&lt;/i&gt; at 856&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="13211" data-sentence-id="14022" class="ldml-sentence"&gt;If &lt;span class="ldml-entity"&gt;a party&lt;/span&gt; fails to satisfy either one of those two requirements, it lacks standing.&lt;/span&gt; &lt;span data-paragraph-id="13211" data-sentence-id="14107" class="ldml-sentence"&gt;&lt;span class="ldml-referencechain"&gt;&lt;span class="ldml-signal"&gt;&lt;i class="ldml-italics"&gt;See&lt;/i&gt;&lt;/span&gt; &lt;span class="ldml-entity"&gt;&lt;a href="/vid/892237094" data-vids="892237094" class="ldml-reference" data-prop-ids="sentence_14022"&gt;&lt;span class="ldml-cite"&gt;&lt;i class="ldml-italics"&gt;id.&lt;/i&gt; at 855&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;/span&gt;.&lt;/span&gt;&lt;/p&gt;&lt;/div&gt;&lt;div class="ldml-section"&gt;&lt;section class="ldml-heading content__heading content__heading--depth2" data-value="C. Application" data-parsed="true" data-content-heading-label="C. Application" data-specifier="C" data-format="upper_case_letters" data-ordinal_end="3" id="heading_14122" data-id="heading_14122" data-ordinal_start="3"&gt;&lt;span data-paragraph-id="14122" class="ldml-paragraph "&gt;&lt;b class="ldml-bold"&gt;&lt;span data-paragraph-id="14122" data-sentence-id="14122" class="ldml-sentence"&gt;C.&lt;/span&gt; &lt;span data-paragraph-id="14122" data-sentence-id="14125" class="ldml-sentence"&gt;Application&lt;/span&gt;&lt;/b&gt;&lt;/span&gt;&lt;/section&gt;&lt;p data-paragraph-id="14136" class="ldml-paragraph "&gt;&lt;span data-paragraph-id="14136" data-sentence-id="14136" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_14136"&gt;&lt;span class="ldml-cite"&gt;¶21&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; Next, &lt;span class="ldml-entity"&gt;we&lt;/span&gt; turn to examine whether nonoperating fractional interest owners in a unitized oil and gas operation have a legally protected interest in the retroactive assessment of tax on the unit.&lt;/span&gt; &lt;span data-paragraph-id="14136" data-sentence-id="14333" class="ldml-sentence"&gt;To do this, &lt;span class="ldml-entity"&gt;we&lt;/span&gt; first discuss our rules of statutory construction; &lt;span class="ldml-entity"&gt;we&lt;/span&gt; then lay out the pertinent statutory and administrative provisions in detail; and, finally, &lt;span class="ldml-entity"&gt;we&lt;/span&gt; explain our interpretation of those provisions.&lt;/span&gt;&lt;/p&gt;&lt;div class="ldml-section"&gt;&lt;section class="ldml-heading content__heading content__heading--depth3" data-specifier="1" data-confidences="high" data-types="statutoryconstruction" data-parsed="true" data-content-heading-label="1. Principles of Statutory Construction" data-format="number" data-value="1. Principles of Statutory Construction" data-ordinal_end="1" id="heading_14544" data-id="heading_14544" data-ordinal_start="1"&gt;&lt;span data-paragraph-id="14544" class="ldml-paragraph "&gt;&lt;b class="ldml-bold"&gt;&lt;span data-paragraph-id="14544" data-sentence-id="14544" class="ldml-sentence"&gt;1.&lt;/span&gt; &lt;span data-paragraph-id="14544" data-sentence-id="14547" class="ldml-sentence"&gt;Principles of Statutory Construction&lt;/span&gt;&lt;/b&gt;&lt;/span&gt;&lt;/section&gt;&lt;p data-paragraph-id="14583" class="ldml-paragraph "&gt; &lt;span data-paragraph-id="14583" data-sentence-id="14584" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_14584"&gt;&lt;span class="ldml-cite"&gt;¶22&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; &lt;span class="ldml-entity"&gt;We&lt;/span&gt; review questions of statutory interpretation de novo.&lt;/span&gt; &lt;span data-paragraph-id="14583" data-sentence-id="14645" class="ldml-sentence"&gt;&lt;span class="ldml-referencechain"&gt;&lt;span class="ldml-entity"&gt;&lt;a href="/vid/890326998" data-vids="890326998" class="ldml-reference" data-prop-ids="sentence_14584"&gt;&lt;span class="ldml-refname"&gt;&lt;i class="ldml-italics"&gt;McCoy v. People&lt;/i&gt;&lt;/span&gt; , &lt;span class="ldml-cite"&gt;2019 CO 44&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;, &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_14584"&gt;&lt;span class="ldml-cite"&gt;¶ 37&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;/span&gt;, &lt;span class="ldml-entity"&gt;&lt;a href="/vid/890326998" data-vids="890326998" class="ldml-reference"&gt;&lt;span class="ldml-cite"&gt;442 P.3d 379, 389&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="14583" data-sentence-id="14700" class="ldml-sentence"&gt;&lt;span class="ldml-quotation quote"&gt;"Our primary task in construing &lt;span class="ldml-entity"&gt;a statute&lt;/span&gt; is to effectuate the intent of the General Assembly."&lt;/span&gt;&lt;/span&gt; &lt;span class="ldml-pagenumber" data-rep="P.3d" data-page_type="bracketed_cite" data-vol="527" data-val="376" data-id="pagenumber_14796"&gt;&lt;/span&gt;&lt;/p&gt;&lt;p data-paragraph-id="14796" class="ldml-paragraph "&gt; &lt;span data-paragraph-id="14796" data-sentence-id="14797" class="ldml-sentence"&gt;&lt;span class="ldml-referencechain"&gt;&lt;i class="ldml-italics"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-refglobal="case:kindermorganco2co,lpvmontezumacntybdofcommrs,2017co72"&gt;&lt;span class="ldml-refname"&gt;Kinder Morgan&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;,&lt;/i&gt; &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference"&gt;&lt;span class="ldml-cite"&gt;¶ 24&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;/span&gt;, &lt;span class="ldml-entity"&gt;&lt;a href="/vid/893325068" data-vids="893325068" class="ldml-reference"&gt;&lt;span class="ldml-cite"&gt;396 P.3d at 664&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="14796" data-sentence-id="14835" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;We&lt;/span&gt; give words and phrases their plain and ordinary meanings and read &lt;span class="ldml-entity"&gt;a statutory scheme&lt;/span&gt; as a whole, &lt;span class="ldml-quotation quote"&gt;"giving consistent, harmonious, and sensible effect to all of its parts."&lt;/span&gt;&lt;/span&gt; &lt;span data-paragraph-id="14796" data-sentence-id="15009" class="ldml-sentence"&gt;&lt;span class="ldml-referencechain"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-refglobal="case:peopleinintofac,2022co49" data-prop-ids="sentence_14835"&gt;&lt;i class="ldml-italics"&gt;&lt;span class="ldml-refname"&gt;People in Int. of A.C.&lt;/span&gt;,&lt;/i&gt; &lt;span class="ldml-cite"&gt;2022 CO 49&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;, &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_14835"&gt;&lt;span class="ldml-cite"&gt;¶ 10&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;/span&gt;, &lt;span class="ldml-referencechain"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-refglobal="case:inrethepeopleofthestateofcoloradovaccaseno22sa73517p3d1228october4,2022"&gt;&lt;span class="ldml-cite"&gt;517 P.3d 1228, 1233&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-cert"&gt;quoting&lt;/span&gt; &lt;i class="ldml-italics"&gt;&lt;span class="ldml-entity"&gt;&lt;a href="/vid/890326998" data-vids="890326998" class="ldml-reference"&gt;&lt;span class="ldml-refname"&gt;McCoy&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;,&lt;/i&gt; &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference"&gt;&lt;span class="ldml-cite"&gt;¶ 38&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;, &lt;span class="ldml-entity"&gt;&lt;a href="/vid/890326998" data-vids="890326998" class="ldml-reference"&gt;&lt;span class="ldml-cite"&gt;442 P.3d at 389&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; )&lt;/span&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="14796" data-sentence-id="15112" class="ldml-sentence"&gt;&lt;span class="ldml-quotation quote"&gt;"If &lt;span class="ldml-entity"&gt;the statute&lt;/span&gt; is unambiguous—that is, not open to multiple interpretations—then our work is done."&lt;/span&gt;&lt;/span&gt; &lt;span data-paragraph-id="14796" data-sentence-id="15213" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-refglobal="case:inrethepeopleofthestateofcoloradovaccaseno22sa73517p3d1228october4,2022" data-prop-ids="sentence_15112"&gt;&lt;span class="ldml-cite"&gt;&lt;i class="ldml-italics"&gt;Id.&lt;/i&gt;&lt;/span&gt; , &lt;span class="ldml-cite"&gt;517 P.3d at 1234&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="14796" data-sentence-id="15237" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;We&lt;/span&gt; apply the same rules when construing an administrative regulation.&lt;/span&gt; &lt;span data-paragraph-id="14796" data-sentence-id="15307" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a href="/vid/887792190" data-vids="887792190" class="ldml-reference" data-prop-ids="sentence_15237"&gt;&lt;i class="ldml-italics"&gt;&lt;span class="ldml-refname"&gt;Regular Route Common Carrier Conf. of Colo. Motor Carriers Ass'n v. Pub. Utils. Comm'n&lt;/span&gt;,&lt;/i&gt; &lt;span class="ldml-cite"&gt;761 P.2d 737, 745&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-court"&gt;Colo.&lt;/span&gt; &lt;span class="ldml-date"&gt;1988&lt;/span&gt;)&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt;&lt;/p&gt;&lt;/div&gt;&lt;div class="ldml-section"&gt;&lt;section class="ldml-heading content__heading content__heading--depth3" data-value="2. Property Tax Assessment of Oil and Gas Leaseholds" data-parsed="true" data-content-heading-label="2. Property Tax Assessment of Oil and Gas Leaseholds" data-specifier="2" data-format="number" data-ordinal_end="2" id="heading_15426" data-id="heading_15426" data-ordinal_start="2"&gt;&lt;span data-paragraph-id="15426" class="ldml-paragraph "&gt;&lt;b class="ldml-bold"&gt;&lt;span data-paragraph-id="15426" data-sentence-id="15426" class="ldml-sentence"&gt;2.&lt;/span&gt; &lt;span data-paragraph-id="15426" data-sentence-id="15429" class="ldml-sentence"&gt;Property Tax Assessment of Oil and Gas Leaseholds&lt;/span&gt;&lt;/b&gt;&lt;/span&gt;&lt;/section&gt;&lt;p data-paragraph-id="15478" class="ldml-paragraph "&gt;&lt;span data-paragraph-id="15478" data-sentence-id="15478" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_15478"&gt;&lt;span class="ldml-cite"&gt;¶23&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; To ensure uniform taxation premised on uniform assessment of property values, the General Assembly enacted &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_15478"&gt;&lt;span class="ldml-cite"&gt;article 7 of title 39&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;, which governs the valuation of oil and gas leaseholds and lands.&lt;/span&gt; &lt;span data-paragraph-id="15478" data-sentence-id="15677" class="ldml-sentence"&gt;&lt;span class="ldml-referencechain"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-refglobal="case:yumacountyboardofequalizationvcabotpetroleumcorporationno92sc597856p2d844july26,1993" data-prop-ids="sentence_15478"&gt;&lt;i class="ldml-italics"&gt;&lt;span class="ldml-refname"&gt;Yuma Cnty. Bd. of Equalization v. Cabot Petroleum Corp.&lt;/span&gt;,&lt;/i&gt; &lt;span class="ldml-cite"&gt;856 P.2d 844, 848&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-court"&gt;Colo.&lt;/span&gt; &lt;span class="ldml-date"&gt;1993&lt;/span&gt;)&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; &lt;span class="ldml-referenceseparator"&gt;;&lt;/span&gt; &lt;span class="ldml-signal"&gt;&lt;i class="ldml-italics"&gt;see also&lt;/i&gt;&lt;/span&gt; &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_15478"&gt;&lt;span class="ldml-cite"&gt;§ 39-1-103&lt;span class="ldml-parenthetical"&gt;(2)&lt;/span&gt;, C.R.S.&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-date"&gt;2022&lt;/span&gt;)&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;span class="ldml-referenceseparator"&gt;;&lt;/span&gt; &lt;span class="ldml-signal"&gt;&lt;i class="ldml-italics"&gt;see generally&lt;/i&gt;&lt;/span&gt; &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_15478"&gt;&lt;span class="ldml-cite"&gt;§§ 39-7-101&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;/span&gt; to - 110, C.R.S. &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-entity"&gt;2022&lt;/span&gt;)&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="15478" data-sentence-id="15857" class="ldml-sentence"&gt;Other statutory provisions outside of &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_15857"&gt;&lt;span class="ldml-cite"&gt;article 7&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; also govern the taxation of oil and gas leaseholds; some apply more broadly to all property taxation, &lt;span class="ldml-referencechain"&gt;&lt;span class="ldml-signal"&gt;&lt;i class="ldml-italics"&gt;see, e.g.&lt;/i&gt;&lt;/span&gt; , &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference"&gt;&lt;span class="ldml-cite"&gt;§ 39-5-122, C.R.S.&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-date"&gt;2022&lt;/span&gt;)&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;/span&gt;, and some specifically apply in the oil and gas context, &lt;span class="ldml-referencechain"&gt;&lt;span class="ldml-signal"&gt;&lt;i class="ldml-italics"&gt;see, e.g.&lt;/i&gt;&lt;/span&gt; , &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference"&gt;&lt;span class="ldml-cite"&gt;§ 39-5-121&lt;span class="ldml-parenthetical"&gt;(1.5)&lt;/span&gt;&lt;span class="ldml-parenthetical"&gt;(b)&lt;/span&gt;&lt;span class="ldml-parenthetical"&gt;(I)&lt;/span&gt;, C.R.S.&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-date"&gt;2022&lt;/span&gt;)&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;span class="ldml-referenceseparator"&gt;;&lt;/span&gt; &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_15857"&gt;&lt;span class="ldml-cite"&gt;§ 39-10-106&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="15478" data-sentence-id="16165" class="ldml-sentence"&gt;The General Assembly has additionally granted authority to the Administrator to publish &lt;span class="ldml-quotation quote"&gt;"manuals, appraisal procedures, and instructions ... concerning methods of appraising and valuing land"&lt;/span&gt; and &lt;span class="ldml-quotation quote"&gt;"guidelines ... concerning the audit and compliance review of oil and gas leasehold properties for property tax purposes."&lt;/span&gt;&lt;/span&gt; &lt;span data-paragraph-id="15478" data-sentence-id="16484" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_16484"&gt;&lt;span class="ldml-cite"&gt;§ 39-2-109&lt;span class="ldml-parenthetical"&gt;(1)&lt;/span&gt;&lt;span class="ldml-parenthetical"&gt;(e)&lt;/span&gt;, &lt;span class="ldml-parenthetical"&gt;(k)&lt;/span&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;, C.R.S. &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-entity"&gt;2022&lt;/span&gt;)&lt;/span&gt;.&lt;/span&gt;&lt;/p&gt;&lt;p data-paragraph-id="16521" class="ldml-paragraph "&gt;&lt;span data-paragraph-id="16521" data-sentence-id="16521" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_16521"&gt;&lt;span class="ldml-cite"&gt;¶24&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; Pursuant to that authority, the Administrator publishes the Assessor's Reference Library &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-quotation quote"&gt;"ARL"&lt;/span&gt;)&lt;/span&gt;, a series of manuals addressing Colorado property tax assessment.&lt;/span&gt; &lt;span data-paragraph-id="16521" data-sentence-id="16688" class="ldml-sentence"&gt;&lt;i class="ldml-italics"&gt;See&lt;/i&gt; &lt;span class="ldml-entity"&gt;Colo. Dep't of Loc. Affs&lt;/span&gt;., Assessor's Reference Library Manuals, https://cdola.colorado.gov/publications/assessors-reference-library-manuals &lt;span class="ldml-parenthetical"&gt;[https://perma.cc/5RTH-JMSA]&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="16521" data-sentence-id="16863" class="ldml-sentence"&gt;County assessors are required to comply with these manuals, procedures, instructions, and guidelines.&lt;/span&gt; &lt;span data-paragraph-id="16521" data-sentence-id="16965" class="ldml-sentence"&gt;&lt;span class="ldml-referencechain"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_16863"&gt;&lt;span class="ldml-cite"&gt;§ 39-2-109&lt;span class="ldml-parenthetical"&gt;(1)&lt;/span&gt;&lt;span class="ldml-parenthetical"&gt;(k)&lt;/span&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; &lt;span class="ldml-referenceseparator"&gt;;&lt;/span&gt; &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-refglobal="case:huddlestonvgrandcountyboardofequalizationno94sc668913p2d15march11,1996" data-prop-ids="embeddedsentence_17061,sentence_16863"&gt;&lt;i class="ldml-italics"&gt;&lt;span class="ldml-refname"&gt;Huddleston v. Grand Cnty. Bd. of Equalization&lt;/span&gt;,&lt;/i&gt; &lt;span class="ldml-cite"&gt;913 P.2d 15, 17&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-court"&gt;Colo.&lt;/span&gt; &lt;span class="ldml-date"&gt;1996&lt;/span&gt;)&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-quotation quote"&gt;&lt;span class="ldml-embeddedsentence"&gt;"&lt;span class="ldml-parenthetical"&gt;[T]&lt;/span&gt;he manuals are binding on the county assessors."&lt;/span&gt;&lt;/span&gt;)&lt;/span&gt;&lt;/span&gt;&lt;/span&gt;&lt;span data-paragraph-id="16521" data-sentence-id="17114" class="ldml-sentence"&gt;.&lt;/span&gt;&lt;/p&gt;&lt;p data-paragraph-id="17115" class="ldml-paragraph "&gt;&lt;span data-paragraph-id="17115" data-sentence-id="17115" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_17115"&gt;&lt;span class="ldml-cite"&gt;¶25&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; To understand &lt;span class="ldml-entity"&gt;the parties&lt;/span&gt;' arguments, it is necessary to take a quick tour of how unitized oil and gas operations are valued and taxed and how audits, tax protests, and retroactive assessments work.&lt;/span&gt;&lt;/p&gt;&lt;div class="ldml-section"&gt;&lt;section class="ldml-heading content__heading content__heading--depth4" data-value="a. Assessor Valuation and Protest Procedures" data-parsed="true" data-content-heading-label="a. Assessor Valuation and Protest Procedures" data-specifier="a" data-format="lower_case_letters" data-ordinal_end="1" id="heading_17317" data-id="heading_17317" data-ordinal_start="1"&gt;&lt;span data-paragraph-id="17317" class="ldml-paragraph "&gt;&lt;span data-paragraph-id="17317" data-sentence-id="17317" class="ldml-sentence"&gt;&lt;b class="ldml-bold"&gt;a. Assessor Valuation and Protest Procedures&lt;/b&gt;&lt;/span&gt;&lt;/span&gt;&lt;/section&gt;&lt;p data-paragraph-id="17361" class="ldml-paragraph "&gt;&lt;span data-paragraph-id="17361" data-sentence-id="17361" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_17361"&gt;&lt;span class="ldml-cite"&gt;¶26&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; As noted, &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_17361"&gt;&lt;span class="ldml-cite"&gt;section 39-7-101&lt;span class="ldml-parenthetical"&gt;(1)&lt;/span&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; requires unit operators to prepare and file the Annual Statement with the county assessor for each unit the operator manages that is producing or capable of producing oil or gas.&lt;/span&gt; &lt;span data-paragraph-id="17361" data-sentence-id="17574" class="ldml-sentence"&gt;The Annual Statement must be submitted by &lt;span class="ldml-entity"&gt;April 15&lt;/span&gt; each year and include the following details:&lt;/span&gt;&lt;/p&gt;&lt;div class="ldml-embeddeddocument"&gt;&lt;blockquote data-paragraph-id="b_17669" class="ldml-blockquote"&gt;&lt;span data-sentence-id="17669" class="ldml-sentence"&gt;&lt;span class="ldml-parenthetical"&gt;(a)&lt;/span&gt; The wellhead location thereof and the name thereof ...;&lt;/span&gt;&lt;/blockquote&gt;&lt;blockquote data-paragraph-id="b_17728" class="ldml-blockquote"&gt;&lt;span data-sentence-id="17728" class="ldml-sentence"&gt;&lt;span class="ldml-parenthetical"&gt;(b)&lt;/span&gt; The name, address, and fractional interest of the operator thereof;&lt;/span&gt;&lt;/blockquote&gt;&lt;blockquote data-paragraph-id="b_17799" class="ldml-blockquote"&gt;&lt;span data-sentence-id="17799" class="ldml-sentence"&gt;&lt;span class="ldml-parenthetical"&gt;(c)&lt;/span&gt; The number of barrels of oil, or the quantity of gas ... sold or transported from the wellhead during the calendar year immediately preceding ...;&lt;/span&gt;&lt;/blockquote&gt;&lt;blockquote data-paragraph-id="b_17949" class="ldml-blockquote"&gt;&lt;span data-sentence-id="17949" class="ldml-sentence"&gt;&lt;span class="ldml-parenthetical"&gt;(d)&lt;/span&gt; The selling price at the wellhead. ...&lt;/span&gt;&lt;span data-sentence-id="17991" class="ldml-sentence"&gt;&lt;span class="ldml-parenthetical"&gt;[;]&lt;/span&gt;&lt;/span&gt;&lt;/blockquote&gt;&lt;blockquote data-paragraph-id="b_17994" class="ldml-blockquote"&gt;&lt;span data-sentence-id="17994" class="ldml-sentence"&gt;&lt;span class="ldml-parenthetical"&gt;(e)&lt;/span&gt; The name, address, and fractional interest of each interest owner taking production in kind ...;&lt;/span&gt;&lt;/blockquote&gt;&lt;blockquote data-paragraph-id="b_18094" class="ldml-blockquote"&gt;&lt;span data-sentence-id="18094" class="ldml-sentence"&gt;&lt;span class="ldml-parenthetical"&gt;(f)&lt;/span&gt; A declaration made under the penalty of perjury ....&lt;/span&gt;&lt;/blockquote&gt;&lt;/div&gt;&lt;p data-paragraph-id="18150" class="ldml-paragraph "&gt; &lt;span data-paragraph-id="18150" data-sentence-id="18151" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference"&gt;&lt;span class="ldml-cite"&gt;§ 39-7-101&lt;span class="ldml-headnoteanchor"&gt;&lt;span class="ldml-parenthetical"&gt;(1)&lt;/span&gt;&lt;/span&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt;&lt;/p&gt;&lt;p data-paragraph-id="18165" class="ldml-paragraph "&gt;&lt;span data-paragraph-id="18165" data-sentence-id="18165" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_18165"&gt;&lt;span class="ldml-cite"&gt;¶27&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; The county assessor then values the entire unit based on the information contained in the Annual Statement submitted by the unit operator.&lt;/span&gt; &lt;span data-paragraph-id="18165" data-sentence-id="18308" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_18165"&gt;&lt;span class="ldml-cite"&gt;§ 39-7-102&lt;span class="ldml-parenthetical"&gt;(1)&lt;/span&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="18165" data-sentence-id="18323" class="ldml-sentence"&gt;The assessor &lt;span class="ldml-quotation quote"&gt;"send&lt;span class="ldml-parenthetical"&gt;[s]&lt;/span&gt; the notice of valuation only to the operator, who shall accept it."&lt;/span&gt;&lt;/span&gt; &lt;span data-paragraph-id="18165" data-sentence-id="18413" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_18323"&gt;&lt;span class="ldml-cite"&gt;§ 39-5-121&lt;span class="ldml-parenthetical"&gt;(1.5)&lt;/span&gt;&lt;span class="ldml-parenthetical"&gt;(b)&lt;/span&gt;&lt;span class="ldml-parenthetical"&gt;(I)&lt;/span&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="18165" data-sentence-id="18436" class="ldml-sentence"&gt;The unit operator's acceptance of notice, however, &lt;span class="ldml-quotation quote"&gt;"shall not be construed as an indication that the operator agrees with the amount of the actual value of the property stated in the notice or as obligating the operator to pay the tax attributable to property in which the operator has no ownership interest."&lt;/span&gt;&lt;/span&gt; &lt;span data-paragraph-id="18165" data-sentence-id="18746" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_18746"&gt;&lt;span class="ldml-cite"&gt;&lt;i class="ldml-italics"&gt;Id.&lt;/i&gt;&lt;/span&gt;&lt;span class="ldml-pagenumber" data-rep="P.3d" data-page_type="bracketed_cite" data-vol="527" data-val="377" data-id="pagenumber_18749"&gt;&lt;/span&gt; &lt;span class="ldml-cite"&gt;¶28&lt;/span&gt; &lt;span class="ldml-cite"&gt;Section 39-5-122&lt;span class="ldml-parenthetical"&gt;(2)&lt;/span&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;, which applies generally to all property taxation, provides that &lt;span class="ldml-quotation quote"&gt;"&lt;span class="ldml-parenthetical"&gt;[i]&lt;/span&gt;f any person is of the opinion that his or her property has been valued too high, ... &lt;span class="ldml-entity"&gt;he&lt;/span&gt; or &lt;span class="ldml-entity"&gt;she&lt;/span&gt; may appear before the assessor and object, complete the form mailed with his or her notice of valuation ..., or file a written letter of objection and protest"&lt;/span&gt; with the assessor.&lt;/span&gt; &lt;span data-paragraph-id="18165" data-sentence-id="19118" class="ldml-sentence"&gt;&lt;span class="ldml-referencechain"&gt;&lt;span class="ldml-signal"&gt;&lt;i class="ldml-italics"&gt;See also&lt;/i&gt;&lt;/span&gt; &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference"&gt;&lt;span class="ldml-cite"&gt;2 Colo. Div. of Prop.&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;/span&gt; Tax'n &amp; &lt;span class="ldml-entity"&gt;Dep't of Loc. Affs&lt;/span&gt;., &lt;i class="ldml-italics"&gt;Assessor's Reference Library: Administrative &amp; Assessment Procedures Manual&lt;/i&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-quotation quote"&gt;"&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference"&gt;&lt;span class="ldml-cite"&gt;2 ARL&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;"&lt;/span&gt;)&lt;/span&gt; 5.1 &lt;span class="ldml-parenthetical"&gt;(Rev. &lt;span class="ldml-entity"&gt;Jan. 2023&lt;/span&gt;)&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-quotation quote"&gt;"If a taxpayer disagrees with the value assigned by the assessor, the taxpayer may file a protest during the statutory protest period."&lt;/span&gt;)&lt;/span&gt;&lt;/span&gt;&lt;span data-paragraph-id="18165" data-sentence-id="19422" class="ldml-sentence"&gt;.&lt;/span&gt;&lt;/p&gt;&lt;p data-paragraph-id="19423" class="ldml-paragraph "&gt;&lt;span data-paragraph-id="19423" data-sentence-id="19423" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_19423"&gt;&lt;span class="ldml-cite"&gt;¶29&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; Then, &lt;span class="ldml-quotation quote"&gt;"&lt;span class="ldml-parenthetical"&gt;[a]&lt;/span&gt;ny person"&lt;/span&gt; whose objection is denied by the assessor can appeal to the county board of equalization.&lt;/span&gt; &lt;span data-paragraph-id="19423" data-sentence-id="19538" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_19423"&gt;&lt;span class="ldml-cite"&gt;§ 39-5-122&lt;span class="ldml-headnoteanchor"&gt;&lt;span class="ldml-parenthetical"&gt;(3)&lt;/span&gt;&lt;/span&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="19423" data-sentence-id="19553" class="ldml-sentence"&gt;If the appeal is denied by the board of equalization, the person has the right to appeal to the &lt;span class="ldml-entity"&gt;Board of Assessment Appeals&lt;/span&gt; or to &lt;span class="ldml-entity"&gt;the district court&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="19423" data-sentence-id="19703" class="ldml-sentence"&gt;&lt;span class="ldml-referencechain"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_19553"&gt;&lt;span class="ldml-cite"&gt;§ 39-8-108&lt;span class="ldml-parenthetical"&gt;(1)&lt;/span&gt;, C.R.S.&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-date"&gt;2022&lt;/span&gt;)&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;span class="ldml-referenceseparator"&gt;;&lt;/span&gt; &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_19553"&gt;&lt;span class="ldml-cite"&gt;2 ARL 5.6&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="19423" data-sentence-id="19744" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_19744"&gt;&lt;span class="ldml-cite"&gt;Title 39&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; broadly defines &lt;span class="ldml-quotation quote"&gt;"&lt;span class="ldml-parenthetical"&gt;[p]&lt;/span&gt;erson"&lt;/span&gt; as &lt;span class="ldml-quotation quote"&gt;"natural persons, corporations, partnerships, limited liability companies, associations, and other legal entities which are or may become taxpayers by reason of the ownership of taxable real or personal property."&lt;/span&gt;&lt;/span&gt; &lt;span data-paragraph-id="19423" data-sentence-id="19997" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_19744"&gt;&lt;span class="ldml-cite"&gt;§ 39-1-102&lt;span class="ldml-headnoteanchor"&gt;&lt;span class="ldml-parenthetical"&gt;(9)&lt;/span&gt;&lt;/span&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt;&lt;/p&gt;&lt;/div&gt;&lt;div class="ldml-section"&gt;&lt;section class="ldml-heading content__heading content__heading--depth4" data-value="b. Payment and Abatement" data-parsed="true" data-content-heading-label="b. Payment and Abatement" data-specifier="b" data-format="lower_case_letters" data-ordinal_end="2" id="heading_20011" data-id="heading_20011" data-ordinal_start="2"&gt;&lt;span data-paragraph-id="20011" class="ldml-paragraph "&gt;&lt;span data-paragraph-id="20011" data-sentence-id="20011" class="ldml-sentence"&gt;&lt;b class="ldml-bold"&gt;b. Payment and Abatement&lt;/b&gt;&lt;/span&gt;&lt;/span&gt;&lt;/section&gt;&lt;p data-paragraph-id="20035" class="ldml-paragraph "&gt;&lt;span data-paragraph-id="20035" data-sentence-id="20035" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_20035"&gt;&lt;span class="ldml-cite"&gt;¶30&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; Although only the unit operator submits the Annual Statement, each fractional interest owner is liable for its proportional share of the unit's taxes.&lt;/span&gt; &lt;span data-paragraph-id="20035" data-sentence-id="20190" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_20035"&gt;&lt;span class="ldml-cite"&gt;§ 39-10-106&lt;span class="ldml-parenthetical"&gt;(1)&lt;/span&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="20035" data-sentence-id="20206" class="ldml-sentence"&gt;The unit operator collects each fractional interest owner's share and remits the tax to the county treasurer.&lt;/span&gt; &lt;span data-paragraph-id="20035" data-sentence-id="20316" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_20206"&gt;&lt;span class="ldml-cite"&gt;§ 39-10-106&lt;span class="ldml-parenthetical"&gt;(2)&lt;/span&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="20035" data-sentence-id="20332" class="ldml-sentence"&gt;&lt;span class="ldml-quotation quote"&gt;"The unit operator may deduct and withhold from royalty payments or any other payments made to any fractional interest owner ... the estimated amount of the tax to be paid by such fractional interest owner."&lt;/span&gt;&lt;/span&gt; &lt;span data-paragraph-id="20035" data-sentence-id="20540" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_20332"&gt;&lt;span class="ldml-cite"&gt;&lt;i class="ldml-italics"&gt;Id.&lt;/i&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;/span&gt; &lt;span data-paragraph-id="20035" data-sentence-id="20544" class="ldml-sentence"&gt;If the operator fails to collect the tax, the county treasurer is not precluded &lt;span class="ldml-quotation quote"&gt;"from utilizing lawful collection and enforcement remedies and procedures against the owner of any fractional interest to collect the tax owed by such owner."&lt;/span&gt;&lt;/span&gt; &lt;span data-paragraph-id="20035" data-sentence-id="20783" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_20544"&gt;&lt;span class="ldml-cite"&gt;§ 39-10-106&lt;span class="ldml-parenthetical"&gt;(4)&lt;/span&gt;&lt;span class="ldml-parenthetical"&gt;(a)&lt;/span&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt;&lt;/p&gt;&lt;p data-paragraph-id="20801" class="ldml-paragraph "&gt;&lt;span data-paragraph-id="20801" data-sentence-id="20801" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference"&gt;&lt;span class="ldml-cite"&gt;¶31 Section 39-10-114&lt;span class="ldml-parenthetical"&gt;(1)&lt;/span&gt;&lt;span class="ldml-parenthetical"&gt;(a)&lt;/span&gt;&lt;span class="ldml-parenthetical"&gt;(I)&lt;/span&gt;&lt;span class="ldml-parenthetical"&gt;(A)&lt;/span&gt;, C.R.S.&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-date"&gt;2022&lt;/span&gt;)&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;, also provides that a county treasurer may provide an abatement or refund of taxes if &lt;span class="ldml-quotation quote"&gt;"a petition for abatement or refund is filed within two years after &lt;span class="ldml-entity"&gt;January 1&lt;/span&gt; of the year following the year in which the taxes were levied."&lt;/span&gt;&lt;/span&gt; &lt;span data-paragraph-id="20801" data-sentence-id="21078" class="ldml-sentence"&gt;&lt;span class="ldml-referencechain"&gt;&lt;span class="ldml-signal"&gt;&lt;i class="ldml-italics"&gt;See also&lt;/i&gt;&lt;/span&gt; &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_20801"&gt;&lt;span class="ldml-cite"&gt;2 ARL 5.13–5.16&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;/span&gt;.&lt;/span&gt;&lt;/p&gt;&lt;/div&gt;&lt;div class="ldml-section"&gt;&lt;section class="ldml-heading content__heading content__heading--depth4" data-value="c. Audit and Retroactive Assessment" data-parsed="true" data-content-heading-label="c. Audit and Retroactive Assessment" data-specifier="c" data-format="lower_case_letters" data-ordinal_end="3" id="heading_21103" data-id="heading_21103" data-ordinal_start="3"&gt;&lt;span data-paragraph-id="21103" class="ldml-paragraph "&gt;&lt;span data-paragraph-id="21103" data-sentence-id="21103" class="ldml-sentence"&gt;&lt;b class="ldml-bold"&gt;c. Audit and Retroactive Assessment&lt;/b&gt;&lt;/span&gt;&lt;/span&gt;&lt;/section&gt;&lt;p data-paragraph-id="21138" class="ldml-paragraph "&gt;&lt;span data-paragraph-id="21138" data-sentence-id="21138" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_21138"&gt;&lt;span class="ldml-cite"&gt;¶32&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; County treasurers also have the authority to audit taxpayers and impose retroactive assessments.&lt;/span&gt; &lt;span data-paragraph-id="21138" data-sentence-id="21239" class="ldml-sentence"&gt;&lt;span class="ldml-referencechain"&gt;&lt;span class="ldml-signal"&gt;&lt;i class="ldml-italics"&gt;See&lt;/i&gt;&lt;/span&gt; &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_21138"&gt;&lt;span class="ldml-cite"&gt;§ 39-10-101&lt;span class="ldml-parenthetical"&gt;(2)&lt;/span&gt;&lt;span class="ldml-parenthetical"&gt;(a)&lt;/span&gt;&lt;span class="ldml-parenthetical"&gt;(I)&lt;/span&gt;, C.R.S.&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-date"&gt;2022&lt;/span&gt;)&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;span class="ldml-referenceseparator"&gt;;&lt;/span&gt; &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_21138"&gt;&lt;span class="ldml-cite"&gt;§ 39-5-125&lt;span class="ldml-parenthetical"&gt;(1)&lt;/span&gt;, C.R.S.&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-date"&gt;2022&lt;/span&gt;)&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;span class="ldml-referenceseparator"&gt;;&lt;/span&gt; &lt;span class="ldml-signal"&gt;&lt;i class="ldml-italics"&gt;see also&lt;/i&gt;&lt;/span&gt; &lt;i class="ldml-italics"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-refglobal="case:kindermorganco2co,lpvmontezumacntybdofcommrs,2017co72" data-prop-ids="sentence_21138"&gt;&lt;span class="ldml-refname"&gt;Kinder Morgan&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;,&lt;/i&gt; &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_21138"&gt;&lt;span class="ldml-cite"&gt;¶ 25&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;/span&gt;, &lt;span class="ldml-entity"&gt;&lt;a href="/vid/893325068" data-vids="893325068" class="ldml-reference"&gt;&lt;span class="ldml-cite"&gt;396 P.3d at 664&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="21138" data-sentence-id="21357" class="ldml-sentence"&gt;If a treasurer discovers that taxable property has been omitted in the valuation process, the treasurer may value the omitted property for assessment.&lt;/span&gt; &lt;span data-paragraph-id="21138" data-sentence-id="21508" class="ldml-sentence"&gt;&lt;span class="ldml-referencechain"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_21357"&gt;&lt;span class="ldml-cite"&gt;§ 39-10-101&lt;span class="ldml-parenthetical"&gt;(2)&lt;/span&gt;&lt;span class="ldml-parenthetical"&gt;(a)&lt;/span&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; &lt;span class="ldml-referenceseparator"&gt;;&lt;/span&gt; &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_21357"&gt;&lt;span class="ldml-cite"&gt;§ 39-5-125&lt;span class="ldml-parenthetical"&gt;(1)&lt;/span&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;/span&gt;.&lt;/span&gt;&lt;/p&gt;&lt;p data-paragraph-id="21542" class="ldml-paragraph "&gt;&lt;span data-paragraph-id="21542" data-sentence-id="21542" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_21542"&gt;&lt;span class="ldml-cite"&gt;¶33&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; The ARL also sheds light on this process.&lt;/span&gt; &lt;span data-paragraph-id="21542" data-sentence-id="21588" class="ldml-sentence"&gt;It explains that counties may establish audit procedures for determining the actual value of oil and gas leaseholds and lands and lays out several requirements for doing so.&lt;/span&gt; &lt;span data-paragraph-id="21542" data-sentence-id="21762" class="ldml-sentence"&gt;It provides, in pertinent part, that the county assessor must mail a letter to the taxpayer &lt;span class="ldml-quotation quote"&gt;"indicating that an &lt;span class="ldml-quotation quote"&gt;‘audit’&lt;/span&gt; of that taxpayer's oil and gas declaration"&lt;/span&gt; will occur.&lt;/span&gt; &lt;span data-paragraph-id="21542" data-sentence-id="21938" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_21762"&gt;&lt;span class="ldml-cite"&gt;3 ARL 6.56&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="21542" data-sentence-id="21950" class="ldml-sentence"&gt;When the audit is complete, the county must &lt;span class="ldml-parenthetical"&gt;(1)&lt;/span&gt; &lt;span class="ldml-quotation quote"&gt;"&lt;span class="ldml-parenthetical"&gt;[m]&lt;/span&gt;ail&lt;span class="ldml-parenthetical"&gt;[ ]&lt;/span&gt; a notice of preliminary &lt;span class="ldml-quotation quote"&gt;‘audit’&lt;/span&gt; findings to the taxpayer at the address recorded on the annual declaration,"&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(2)&lt;/span&gt; give the taxpayer thirty days to submit additional information, &lt;span class="ldml-parenthetical"&gt;(3)&lt;/span&gt; consider that additional information, and &lt;span class="ldml-parenthetical"&gt;(4)&lt;/span&gt; provide a listing of the taxpayer's audit rights.&lt;/span&gt; &lt;span data-paragraph-id="21542" data-sentence-id="22286" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_21950"&gt;&lt;span class="ldml-cite"&gt;3 ARL 6.57&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt;&lt;/p&gt;&lt;/div&gt;&lt;/div&gt;&lt;div class="ldml-section"&gt;&lt;section class="ldml-heading content__heading content__heading--depth3" data-value="3. CO2's Alleged Legally Protected Interest" data-parsed="true" data-content-heading-label="3. CO2's Alleged Legally Protected Interest" data-specifier="3" data-format="number" data-ordinal_end="3" id="heading_22297" data-id="heading_22297" data-ordinal_start="3"&gt;&lt;span data-paragraph-id="22297" class="ldml-paragraph "&gt;&lt;span data-paragraph-id="22297" data-sentence-id="22297" class="ldml-sentence"&gt;&lt;b class="ldml-bold"&gt;3. CO&lt;sub class="ldml-subscript"&gt;2&lt;/sub&gt;'s Alleged Legally Protected Interest&lt;/b&gt;&lt;/span&gt;&lt;/span&gt;&lt;/section&gt;&lt;p data-paragraph-id="22340" class="ldml-paragraph "&gt;&lt;span data-paragraph-id="22340" data-sentence-id="22340" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_22340"&gt;&lt;span class="ldml-cite"&gt;¶34&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; The Administrator argues that the division erred in concluding that nonoperating fractional interest owners have a legally protected interest in the valuation and taxation of their oil and gas leaseholds and lands.&lt;/span&gt; &lt;span data-paragraph-id="22340" data-sentence-id="22559" class="ldml-sentence"&gt;&lt;span class="ldml-referencechain"&gt;&lt;span class="ldml-signal"&gt;&lt;i class="ldml-italics"&gt;See&lt;/i&gt;&lt;/span&gt; &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-refglobal="case:co2comm,incvmontezumacounty,2021coa36m" data-prop-ids="sentence_22340"&gt;&lt;span class="ldml-refname"&gt;&lt;i class="ldml-italics"&gt;CO&lt;sub class="ldml-subscript"&gt;2&lt;/sub&gt; Comm.&lt;/i&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; , &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_22340"&gt;&lt;span class="ldml-cite"&gt;¶ 73&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;/span&gt;, &lt;span class="ldml-entity"&gt;&lt;a href="/vid/887065073" data-vids="887065073" class="ldml-reference"&gt;&lt;span class="ldml-cite"&gt;491 P.3d at 529&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="22340" data-sentence-id="22598" class="ldml-sentence"&gt;In the Administrator's view, these owners are not taxpayers and thus not entitled to all of the rights provided to taxpayers under &lt;span class="ldml-entity"&gt;the statute&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="22340" data-sentence-id="22742" class="ldml-sentence"&gt;&lt;span class="ldml-referencechain"&gt;&lt;span class="ldml-signal"&gt;&lt;i class="ldml-italics"&gt;See&lt;/i&gt;&lt;/span&gt; &lt;span class="ldml-entity"&gt;&lt;a href="/vid/887065073" data-vids="887065073" class="ldml-reference" data-prop-ids="sentence_22598"&gt;&lt;span class="ldml-cite"&gt;&lt;i class="ldml-italics"&gt;id.&lt;/i&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;/span&gt; at &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference"&gt;&lt;span class="ldml-cite"&gt;¶ 72&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;, &lt;span class="ldml-entity"&gt;&lt;a href="/vid/887065073" data-vids="887065073" class="ldml-reference"&gt;&lt;span class="ldml-cite"&gt;491 P.3d at 529&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt;&lt;/p&gt;&lt;p data-paragraph-id="22775" class="ldml-paragraph "&gt;&lt;span data-paragraph-id="22775" data-sentence-id="22775" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_22775"&gt;&lt;span class="ldml-cite"&gt;¶35&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; More specifically, &lt;span class="ldml-entity"&gt;she&lt;/span&gt; contends that property taxes on these types of oil and gas interests are based on a representative system where the unit operator is the sole point &lt;span class="ldml-pagenumber" data-rep="P.3d" data-page_type="bracketed_cite" data-vol="527" data-val="378" data-id="pagenumber_22950"&gt;&lt;/span&gt; of contact for reporting, notice, and taxpaying purposes.&lt;/span&gt; &lt;span data-paragraph-id="22775" data-sentence-id="23009" class="ldml-sentence"&gt;The Administrator asserts that the General Assembly created this system to make the operator alone responsible for paying taxes on behalf of the entire unit and that the division's opinion essentially disregards that system.&lt;/span&gt; &lt;span data-paragraph-id="22775" data-sentence-id="23234" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;We&lt;/span&gt; agree that &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_23234"&gt;&lt;span class="ldml-cite"&gt;article 7&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; creates a representative system for oil and gas leaseholds and lands, in which the unit operator serves as the sole taxpayer.&lt;/span&gt; &lt;span data-paragraph-id="22775" data-sentence-id="23384" class="ldml-sentence"&gt;&lt;span class="ldml-referencechain"&gt;&lt;span class="ldml-signal"&gt;&lt;i class="ldml-italics"&gt;See&lt;/i&gt;&lt;/span&gt; &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_23234"&gt;&lt;span class="ldml-cite"&gt;§ 39-7-101&lt;span class="ldml-parenthetical"&gt;(1)&lt;/span&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;/span&gt;.&lt;/span&gt;&lt;/p&gt;&lt;p data-paragraph-id="23402" class="ldml-paragraph "&gt;&lt;span data-paragraph-id="23402" data-sentence-id="23402" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_23402"&gt;&lt;span class="ldml-cite"&gt;¶36&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; The many &lt;span class="ldml-entity"&gt;statutes&lt;/span&gt; outlining the unit operator's unique role demonstrate the General Assembly's intent in this regard.&lt;/span&gt; &lt;span data-paragraph-id="23402" data-sentence-id="23524" class="ldml-sentence"&gt;For instance, &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_23524"&gt;&lt;span class="ldml-cite"&gt;section 39-7-101&lt;span class="ldml-parenthetical"&gt;(1)&lt;/span&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; explicitly provides that the operator files the Annual Statement &lt;span class="ldml-quotation quote"&gt;"for the ... unit."&lt;/span&gt;&lt;a href="#note-fr3" class="ldml-noteanchor" id="note-ref-fr3"&gt;3&lt;/a&gt;&lt;/span&gt; &lt;span data-paragraph-id="23402" data-sentence-id="23643" class="ldml-sentence"&gt;Fractional interest owners have no obligation to do so unless there is no unit operator.&lt;/span&gt; &lt;span data-paragraph-id="23402" data-sentence-id="23732" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_23643"&gt;&lt;span class="ldml-cite"&gt;&lt;i class="ldml-italics"&gt;Id.&lt;/i&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;/span&gt; &lt;span data-paragraph-id="23402" data-sentence-id="23736" class="ldml-sentence"&gt;And while any nonoperating fractional interest owner may report, by &lt;span class="ldml-entity"&gt;March 15&lt;/span&gt; of each year, its &lt;span class="ldml-quotation quote"&gt;"actual net taxable revenues received at the wellhead and the actual exempt revenues received at the wellhead by such owner for production taken in kind from the property during the calendar year immediately preceding,"&lt;/span&gt; it reports that information to the unit operator, &lt;i class="ldml-italics"&gt;not&lt;/i&gt; to the assessor.&lt;/span&gt; &lt;span data-paragraph-id="23402" data-sentence-id="24122" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_23736"&gt;&lt;span class="ldml-cite"&gt;§ 39-7-101&lt;span class="ldml-parenthetical"&gt;(1.5)&lt;/span&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="23402" data-sentence-id="24139" class="ldml-sentence"&gt;When a nonoperating fractional interest owner provides this information to the unit operator, the unit operator shall use this information to determine the selling price at the wellhead for that owner, &lt;i class="ldml-italics"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_24139"&gt;&lt;span class="ldml-cite"&gt;id.&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;,&lt;/i&gt; thus giving the owner an opportunity to weigh in on the Annual Statement as to its proportionate share &lt;i class="ldml-italics"&gt;through&lt;/i&gt; the unit operator.&lt;/span&gt; &lt;span data-paragraph-id="23402" data-sentence-id="24476" class="ldml-sentence"&gt;Taxes for the unit are then determined based on the price reported by the unit operator.&lt;/span&gt; &lt;span data-paragraph-id="23402" data-sentence-id="24565" class="ldml-sentence"&gt;&lt;span class="ldml-referencechain"&gt;&lt;span class="ldml-signal"&gt;&lt;i class="ldml-italics"&gt;See&lt;/i&gt;&lt;/span&gt; &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_24476"&gt;&lt;span class="ldml-cite"&gt;&lt;i class="ldml-italics"&gt;id.&lt;/i&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; &lt;span class="ldml-referenceseparator"&gt;;&lt;/span&gt; &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_24476"&gt;&lt;span class="ldml-cite"&gt;§ 39-7-101&lt;span class="ldml-parenthetical"&gt;(1)&lt;/span&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; &lt;span class="ldml-referenceseparator"&gt;;&lt;/span&gt; &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_24476"&gt;&lt;span class="ldml-cite"&gt;§ 39-7-102&lt;span class="ldml-parenthetical"&gt;(1)&lt;/span&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; &lt;span class="ldml-referenceseparator"&gt;;&lt;/span&gt; &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_24476"&gt;&lt;span class="ldml-cite"&gt;§ 39-10-106&lt;span class="ldml-parenthetical"&gt;(1)&lt;/span&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;/span&gt;.&lt;/span&gt;&lt;/p&gt;&lt;p data-paragraph-id="24622" class="ldml-paragraph "&gt; &lt;span data-paragraph-id="24622" data-sentence-id="24623" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_24623"&gt;&lt;span class="ldml-cite"&gt;¶37&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; The plain language of &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_24623"&gt;&lt;span class="ldml-cite"&gt;section 39-5-121&lt;span class="ldml-parenthetical"&gt;(1.5)&lt;/span&gt;&lt;span class="ldml-parenthetical"&gt;(b)&lt;/span&gt;&lt;span class="ldml-parenthetical"&gt;(I)&lt;/span&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; further supports our conclusion that the General Assembly intended the unit operator to represent the nonoperating fractional interest owners in the taxpaying process: &lt;span class="ldml-quotation quote"&gt;"the assessor shall send the notice of valuation &lt;i class="ldml-italics"&gt;only&lt;/i&gt; to the operator."&lt;/span&gt;&lt;/span&gt; &lt;span data-paragraph-id="24622" data-sentence-id="24917" class="ldml-sentence"&gt;&lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-referencenote"&gt;Emphasis added&lt;/span&gt;.)&lt;/span&gt;&lt;/span&gt; &lt;span data-paragraph-id="24622" data-sentence-id="24935" class="ldml-sentence"&gt;Nonoperating fractional interest owners are thus not statutorily entitled to notice of valuation at the initial valuation stage.&lt;/span&gt; &lt;span data-paragraph-id="24622" data-sentence-id="25064" class="ldml-sentence"&gt;&lt;span class="ldml-referencechain"&gt;&lt;span class="ldml-signal"&gt;&lt;i class="ldml-italics"&gt;See&lt;/i&gt;&lt;/span&gt; &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_24935"&gt;&lt;span class="ldml-cite"&gt;&lt;i class="ldml-italics"&gt;id.&lt;/i&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;/span&gt;&lt;/span&gt;&lt;/p&gt;&lt;p data-paragraph-id="25071" class="ldml-paragraph "&gt;&lt;span data-paragraph-id="25071" data-sentence-id="25071" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_25071"&gt;&lt;span class="ldml-cite"&gt;¶38&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; Read alongside &lt;span class="ldml-entity"&gt;&lt;span class="ldml-referencechain"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_25071"&gt;&lt;span class="ldml-cite"&gt;sections 39-7-101&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; &lt;span class="ldml-referenceseparator"&gt;and&lt;/span&gt; &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_25071"&gt;&lt;span class="ldml-cite"&gt;39-5-121&lt;span class="ldml-parenthetical"&gt;(1.5)&lt;/span&gt;&lt;span class="ldml-parenthetical"&gt;(b)&lt;/span&gt;&lt;span class="ldml-parenthetical"&gt;(I)&lt;/span&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;/span&gt;&lt;/span&gt;, the statutory valuation protest procedure—which applies generally to all property-tax-valuation protests—also supports our conclusion.&lt;/span&gt; &lt;span data-paragraph-id="25071" data-sentence-id="25268" class="ldml-sentence"&gt;&lt;span class="ldml-referencechain"&gt;&lt;span class="ldml-signal"&gt;&lt;i class="ldml-italics"&gt;See&lt;/i&gt;&lt;/span&gt; &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_25071"&gt;&lt;span class="ldml-cite"&gt;§ 39-5-122&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="25071" data-sentence-id="25284" class="ldml-sentence"&gt;That provision dictates that &lt;span class="ldml-quotation quote"&gt;"any person"&lt;/span&gt; who disagrees with the valuation of &lt;span class="ldml-quotation quote"&gt;"his or her property"&lt;/span&gt; has three options to object.&lt;/span&gt; &lt;span data-paragraph-id="25071" data-sentence-id="25413" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_25284"&gt;&lt;span class="ldml-cite"&gt;§ 39-5-122&lt;span class="ldml-parenthetical"&gt;(2)&lt;/span&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="25071" data-sentence-id="25428" class="ldml-sentence"&gt;One of those options is to &lt;span class="ldml-quotation quote"&gt;"complete the form mailed with his or her notice of valuation pursuant to &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_25428"&gt;&lt;span class="ldml-cite"&gt;section 39-5-121&lt;span class="ldml-parenthetical"&gt;(1)&lt;/span&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; or &lt;span class="ldml-parenthetical"&gt;(1.5)&lt;/span&gt;."&lt;/span&gt;&lt;/span&gt; &lt;span data-paragraph-id="25071" data-sentence-id="25560" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_25428"&gt;&lt;span class="ldml-cite"&gt;§ 39-5-122&lt;span class="ldml-parenthetical"&gt;(2)&lt;/span&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="25071" data-sentence-id="25575" class="ldml-sentence"&gt;The entity with the authority to protest a valuation, then, must be the one that received the notice of valuation, and in this context, the only entity that receives notice of valuation is the unit operator.&lt;/span&gt; &lt;span data-paragraph-id="25071" data-sentence-id="25783" class="ldml-sentence"&gt;&lt;span class="ldml-referencechain"&gt;&lt;span class="ldml-signal"&gt;&lt;i class="ldml-italics"&gt;See&lt;/i&gt;&lt;/span&gt; &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_25575"&gt;&lt;span class="ldml-cite"&gt;§ 39-5-121&lt;span class="ldml-parenthetical"&gt;(1.5)&lt;/span&gt;&lt;span class="ldml-parenthetical"&gt;(b)&lt;/span&gt;&lt;span class="ldml-parenthetical"&gt;(I)&lt;/span&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="25071" data-sentence-id="25810" class="ldml-sentence"&gt;Although &lt;span class="ldml-quotation quote"&gt;"any person"&lt;/span&gt; may object, the meaning of &lt;span class="ldml-quotation quote"&gt;"any person"&lt;/span&gt; must be limited by the context of the relevant &lt;span class="ldml-entity"&gt;statutes&lt;/span&gt; here to mean the unit operator.&lt;/span&gt; &lt;span data-paragraph-id="25071" data-sentence-id="25960" class="ldml-sentence"&gt;&lt;span class="ldml-referencechain"&gt;&lt;span class="ldml-signal"&gt;&lt;i class="ldml-italics"&gt;See&lt;/i&gt;&lt;/span&gt; &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_25810"&gt;&lt;span class="ldml-cite"&gt;&lt;i class="ldml-italics"&gt;id.&lt;/i&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;/span&gt;&lt;/span&gt;&lt;/p&gt;&lt;p data-paragraph-id="25967" class="ldml-paragraph "&gt;&lt;span data-paragraph-id="25967" data-sentence-id="25967" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_25967"&gt;&lt;span class="ldml-cite"&gt;¶39&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; CO&lt;sub class="ldml-subscript"&gt;2&lt;/sub&gt; essentially concedes that &lt;span class="ldml-entity"&gt;the statute&lt;/span&gt; contemplates the unit operator as the sole point of contact for the initial valuation and corresponding protest process but contends that those procedures do not apply to the &lt;span class="ldml-quotation quote"&gt;"retroactive assessment"&lt;/span&gt; and &lt;span class="ldml-quotation quote"&gt;"special notice of valuation"&lt;/span&gt; processes.&lt;/span&gt; &lt;span data-paragraph-id="25967" data-sentence-id="26258" class="ldml-sentence"&gt;It asserts that because there are no statutory provisions specifically governing oil and gas audits, the Administrator's contention that nonoperating fractional interest owners lack standing to challenge these assessments deprives them of due process.&lt;/span&gt; &lt;span data-paragraph-id="25967" data-sentence-id="26510" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;We&lt;/span&gt; disagree for two reasons.&lt;/span&gt;&lt;/p&gt;&lt;p data-paragraph-id="26538" class="ldml-paragraph "&gt;&lt;span data-paragraph-id="26538" data-sentence-id="26538" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_26538"&gt;&lt;span class="ldml-cite"&gt;¶40&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; First, &lt;span class="ldml-entity"&gt;we&lt;/span&gt; read &lt;span class="ldml-entity"&gt;statutes&lt;/span&gt; dealing with the same subject alongside one another, &lt;span class="ldml-quotation quote"&gt;"giving consistent, harmonious, and sensible effect to all of their parts."&lt;/span&gt;&lt;/span&gt; &lt;span data-paragraph-id="26538" data-sentence-id="26695" class="ldml-sentence"&gt;&lt;span class="ldml-referencechain"&gt;&lt;i class="ldml-italics"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-refglobal="case:kindermorganco2co,lpvmontezumacntybdofcommrs,2017co72" data-prop-ids="sentence_26538"&gt;&lt;span class="ldml-refname"&gt;Kinder Morgan&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;,&lt;/i&gt; &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_26538"&gt;&lt;span class="ldml-cite"&gt;¶ 24&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;/span&gt;, &lt;span class="ldml-entity"&gt;&lt;a href="/vid/893325068" data-vids="893325068" class="ldml-reference"&gt;&lt;span class="ldml-cite"&gt;396 P.3d at 664&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="26538" data-sentence-id="26733" class="ldml-sentence"&gt;True, &lt;span class="ldml-entity"&gt;the statutory scheme&lt;/span&gt; does not specifically discuss audit procedures in the context of unitized oil and gas operations, but that does not mean that such procedures should be at odds with the overarching &lt;span class="ldml-entity"&gt;statutory scheme&lt;/span&gt; for the valuation &lt;span class="ldml-pagenumber" data-rep="P.3d" data-page_type="bracketed_cite" data-vol="527" data-val="379" data-id="pagenumber_26976"&gt;&lt;/span&gt; and taxation of oil and gas leaseholds.&lt;/span&gt; &lt;span data-paragraph-id="26538" data-sentence-id="27017" class="ldml-sentence"&gt;To the contrary, the General Assembly's decision to make the unit operator the sole point of communication with the assessor throughout the initial valuation and protest process demonstrates its intent to create a representative system in which the unit operator represents fractional interest owners at &lt;i class="ldml-italics"&gt;every&lt;/i&gt; stage of the property tax assessment process.&lt;/span&gt; &lt;span data-paragraph-id="26538" data-sentence-id="27373" class="ldml-sentence"&gt;Construing &lt;span class="ldml-entity"&gt;the statutory scheme&lt;/span&gt; as affording standing to nonoperating fractional interest owners in the audit and post-audit process would clearly contravene that &lt;span class="ldml-entity"&gt;legislative intent&lt;/span&gt;.&lt;/span&gt;&lt;/p&gt;&lt;p data-paragraph-id="27555" class="ldml-paragraph "&gt;&lt;span data-paragraph-id="27555" data-sentence-id="27555" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_27555"&gt;&lt;span class="ldml-cite"&gt;¶41&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; Second, the ARL's oil and gas audit procedures support our conclusion that nonoperating fractional interest owners lack standing, and the Administrator's construction of &lt;span class="ldml-entity"&gt;these statutes&lt;/span&gt; warrants our deference.&lt;/span&gt; &lt;span data-paragraph-id="27555" data-sentence-id="27768" class="ldml-sentence"&gt;&lt;span class="ldml-referencechain"&gt;&lt;span class="ldml-signal"&gt;&lt;i class="ldml-italics"&gt;See&lt;/i&gt;&lt;/span&gt; &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-refglobal="case:elpasocountyboardofequalizationvcraddock,850p2d702,704-05colo1993" data-prop-ids="embeddedsentence_27854,sentence_27555"&gt;&lt;i class="ldml-italics"&gt;&lt;span class="ldml-refname"&gt;El Paso Cnty. Bd. of Equalization v. Craddock&lt;/span&gt;,&lt;/i&gt; &lt;span class="ldml-cite"&gt;850 P.2d 702, 704–05&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-court"&gt;Colo.&lt;/span&gt; &lt;span class="ldml-date"&gt;1993&lt;/span&gt;)&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-embeddedsentence"&gt;&lt;span class="ldml-relatingauthority"&gt;explaining&lt;/span&gt; that although &lt;span class="ldml-entity"&gt;courts&lt;/span&gt; are not bound by agency interpretations, &lt;span class="ldml-entity"&gt;courts&lt;/span&gt; afford deference to such interpretations, especially &lt;span class="ldml-quotation quote"&gt;"when the subject involved calls for the exercise of technical expertise which the agency possesses and when the statutory language is susceptible to more than one reasonable interpretation"&lt;/span&gt;&lt;/span&gt;)&lt;/span&gt;&lt;/span&gt;.&lt;/span&gt;&lt;/p&gt;&lt;p data-paragraph-id="28179" class="ldml-paragraph "&gt;&lt;span data-paragraph-id="28179" data-sentence-id="28179" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_28179"&gt;&lt;span class="ldml-cite"&gt;¶42&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; Those procedures provide that the assessor &lt;span class="ldml-quotation quote"&gt;"provides a letter to the taxpayer ... indicating that an &lt;span class="ldml-quotation quote"&gt;‘audit’&lt;/span&gt; of that taxpayer's oil and gas declaration"&lt;/span&gt; will occur.&lt;/span&gt; &lt;span data-paragraph-id="28179" data-sentence-id="28348" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_28179"&gt;&lt;span class="ldml-cite"&gt;3 ARL 6.56&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="28179" data-sentence-id="28360" class="ldml-sentence"&gt;The &lt;span class="ldml-quotation quote"&gt;"taxpayer"&lt;/span&gt; here &lt;i class="ldml-italics"&gt;must&lt;/i&gt; be the unit operator because the unit operator is the one who files the Annual Statement.&lt;a href="#note-fr4" class="ldml-noteanchor" id="note-ref-fr4"&gt;4&lt;/a&gt;&lt;/span&gt; &lt;span data-paragraph-id="28179" data-sentence-id="28475" class="ldml-sentence"&gt;&lt;span class="ldml-referencechain"&gt;&lt;span class="ldml-signal"&gt;&lt;i class="ldml-italics"&gt;See&lt;/i&gt;&lt;/span&gt; &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_28360"&gt;&lt;span class="ldml-cite"&gt;§ 39-7-101&lt;span class="ldml-parenthetical"&gt;(1)&lt;/span&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="28179" data-sentence-id="28494" class="ldml-sentence"&gt;Fractional interest owners do not file a separate statement with the assessor, so if the fractional interest owners were the &lt;span class="ldml-quotation quote"&gt;"taxpayer&lt;span class="ldml-parenthetical"&gt;[s]&lt;/span&gt;,"&lt;/span&gt; the assessor would have nothing to audit.&lt;/span&gt; &lt;span data-paragraph-id="28179" data-sentence-id="28676" class="ldml-sentence"&gt;&lt;span class="ldml-referencechain"&gt;&lt;span class="ldml-signal"&gt;&lt;i class="ldml-italics"&gt;See&lt;/i&gt;&lt;/span&gt; &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_28494"&gt;&lt;span class="ldml-cite"&gt;&lt;i class="ldml-italics"&gt;id.&lt;/i&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;/span&gt;&lt;/span&gt;&lt;/p&gt;&lt;p data-paragraph-id="28683" class="ldml-paragraph "&gt;&lt;span data-paragraph-id="28683" data-sentence-id="28683" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_28683"&gt;&lt;span class="ldml-cite"&gt;¶43&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; Yet another provision in the ARL further supports our conclusion.&lt;/span&gt; &lt;span data-paragraph-id="28683" data-sentence-id="28753" class="ldml-sentence"&gt;On completion of the audit, the ARL requires the assessor to &lt;span class="ldml-quotation quote"&gt;"&lt;span class="ldml-parenthetical"&gt;[m]&lt;/span&gt;ail&lt;span class="ldml-parenthetical"&gt;[ ]&lt;/span&gt; a notice of preliminary &lt;span class="ldml-quotation quote"&gt;‘audit’&lt;/span&gt; findings to the taxpayer at the address recorded on the annual declaration."&lt;/span&gt;&lt;/span&gt; &lt;span data-paragraph-id="28683" data-sentence-id="28934" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_28753"&gt;&lt;span class="ldml-cite"&gt;3 ARL 6.57&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="28683" data-sentence-id="28946" class="ldml-sentence"&gt;But because &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_28946"&gt;&lt;span class="ldml-cite"&gt;section 39-7-101&lt;span class="ldml-parenthetical"&gt;(1)&lt;/span&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; only requires that the Annual Statement include the address of the unit operator and of the fractional interest owners taking production in kind, &lt;span class="ldml-entity"&gt;the statute&lt;/span&gt; excludes all of those fractional interest owners who do &lt;i class="ldml-italics"&gt;not&lt;/i&gt; take their production in kind.&lt;/span&gt; &lt;span data-paragraph-id="28683" data-sentence-id="29227" class="ldml-sentence"&gt;Thus, if &lt;span class="ldml-entity"&gt;we&lt;/span&gt; construe &lt;span class="ldml-quotation quote"&gt;"taxpayer"&lt;/span&gt; expansively, as CO&lt;sub class="ldml-subscript"&gt;2&lt;/sub&gt; suggests, to include all fractional interest owners, &lt;span class="ldml-entity"&gt;we&lt;/span&gt; would be requiring the assessor to mail notices of preliminary findings to fractional interest owners who are not identified in the Annual Statement.&lt;/span&gt; &lt;span data-paragraph-id="28683" data-sentence-id="29485" class="ldml-sentence"&gt;&lt;span class="ldml-referencechain"&gt;&lt;span class="ldml-signal"&gt;&lt;i class="ldml-italics"&gt;See&lt;/i&gt;&lt;/span&gt; &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_29227"&gt;&lt;span class="ldml-cite"&gt;§ 39-7-101&lt;span class="ldml-parenthetical"&gt;(1)&lt;/span&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="28683" data-sentence-id="29504" class="ldml-sentence"&gt;That interpretation would be illogical.&lt;/span&gt; &lt;span data-paragraph-id="28683" data-sentence-id="29544" class="ldml-sentence"&gt;&lt;span class="ldml-referencechain"&gt;&lt;span class="ldml-signal"&gt;&lt;i class="ldml-italics"&gt;See&lt;/i&gt;&lt;/span&gt; &lt;i class="ldml-italics"&gt;&lt;span class="ldml-entity"&gt;&lt;a href="/vid/890326998" data-vids="890326998" class="ldml-reference" data-prop-ids="sentence_29504"&gt;&lt;span class="ldml-refname"&gt;McCoy&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;,&lt;/i&gt; &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_29504"&gt;&lt;span class="ldml-cite"&gt;¶ 38&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;/span&gt;, &lt;span class="ldml-referencechain"&gt;&lt;span class="ldml-entity"&gt;&lt;a href="/vid/890326998" data-vids="890326998" class="ldml-reference" data-prop-ids="embeddedsentence_29578"&gt;&lt;span class="ldml-cite"&gt;442 P.3d at 389&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-quotation quote"&gt;&lt;span class="ldml-embeddedsentence"&gt;"&lt;span class="ldml-parenthetical"&gt;[W]&lt;/span&gt;e must avoid constructions that would ... lead to illogical or absurd results."&lt;/span&gt;&lt;/span&gt;)&lt;/span&gt;&lt;/span&gt;&lt;/span&gt;&lt;span data-paragraph-id="28683" data-sentence-id="29662" class="ldml-sentence"&gt;.&lt;/span&gt;&lt;/p&gt;&lt;p data-paragraph-id="29663" class="ldml-paragraph "&gt;&lt;span data-paragraph-id="29663" data-sentence-id="29663" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_29663"&gt;&lt;span class="ldml-cite"&gt;¶44&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; Finally, the recent &lt;span class="ldml-entity"&gt;enactment&lt;/span&gt; of clarifying &lt;span class="ldml-entity"&gt;legislation&lt;/span&gt; further bolsters our &lt;span class="ldml-entity"&gt;interpretation of &lt;span class="ldml-entity"&gt;the statutory scheme&lt;/span&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="29663" data-sentence-id="29784" class="ldml-sentence"&gt;After the division published its opinion, the General Assembly passed &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference"&gt;&lt;span class="ldml-cite"&gt;S.B. 22-026&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; to clarify the role of the unit operator:&lt;/span&gt;&lt;/p&gt;&lt;blockquote data-paragraph-id="b_29907" class="ldml-blockquote"&gt;&lt;span data-sentence-id="29907" class="ldml-sentence"&gt;Notwithstanding any other provision of law, the partial interests of oil and gas fractional interest owners are not subject to separate valuation by the assessor and shall be represented by the well or unit operator of each wellsite.&lt;/span&gt; &lt;span data-sentence-id="30141" class="ldml-sentence"&gt;The well or unit operator is the sole point of contact for all notification, review, audit, protest, abatement, and appeal procedures.&lt;/span&gt;&lt;/blockquote&gt;&lt;p data-paragraph-id="30275" class="ldml-paragraph "&gt;&lt;span data-paragraph-id="30275" data-sentence-id="30275" class="ldml-sentence"&gt;&lt;span class="ldml-referencechain"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference"&gt;&lt;span class="ldml-cite"&gt;Ch. 58, sec. 2&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;span class="ldml-referenceseparator"&gt;,&lt;/span&gt; &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference"&gt;&lt;span class="ldml-cite"&gt;§ 39-7-110&lt;span class="ldml-parenthetical"&gt;(2)&lt;/span&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;span class="ldml-referenceseparator"&gt;,&lt;/span&gt; &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference"&gt;&lt;span class="ldml-cite"&gt;2022 Colo. Sess. Laws 265, 265–66&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="30275" data-sentence-id="30341" class="ldml-sentence"&gt;Both the legislative history and the plain language of &lt;span class="ldml-entity"&gt;the statute&lt;/span&gt; demonstrate the General Assembly's intent to clarify &lt;span class="ldml-entity"&gt;the statute&lt;/span&gt; rather than to change it.&lt;/span&gt; &lt;span data-paragraph-id="30275" data-sentence-id="30499" class="ldml-sentence"&gt;&lt;span class="ldml-referencechain"&gt;&lt;span class="ldml-signal"&gt;&lt;i class="ldml-italics"&gt;See&lt;/i&gt;&lt;/span&gt; &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_30341"&gt;&lt;span class="ldml-cite"&gt;&lt;i class="ldml-italics"&gt;id.&lt;/i&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; &lt;span class="ldml-referenceseparator"&gt;;&lt;/span&gt;&lt;/span&gt; Hearing on &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference"&gt;&lt;span class="ldml-cite"&gt;S.B. 22-026&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; before the &lt;span class="ldml-referencechain"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference"&gt;&lt;span class="ldml-cite"&gt;S. Fin. Comm., 73rd Gen. Assemb., Reg. Sess.&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-date"&gt;Feb. 9, 2022&lt;/span&gt;)&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(statements of Sens. Ginal and Kirkmeyer)&lt;/span&gt;&lt;span class="ldml-referenceseparator"&gt;;&lt;/span&gt;&lt;/span&gt; Hearing on &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference"&gt;&lt;span class="ldml-cite"&gt;S.B. 22-026&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; before the &lt;span class="ldml-referencechain"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference"&gt;&lt;span class="ldml-cite"&gt;H. Fin. Comm., 73rd Gen. Assemb., Reg. Sess.&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-date"&gt;Mar. 10, 2022&lt;/span&gt;)&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(statements of Reps. Boesenecker and Rich)&lt;/span&gt;&lt;span class="ldml-referenceseparator"&gt;;&lt;/span&gt; &lt;span class="ldml-signal"&gt;&lt;i class="ldml-italics"&gt;see also&lt;/i&gt;&lt;/span&gt; &lt;span class="ldml-entity"&gt;&lt;a href="/vid/895183227" data-vids="895183227" class="ldml-reference" data-prop-ids="embeddedsentence_30882"&gt;&lt;i class="ldml-italics"&gt;&lt;span class="ldml-refname"&gt;Acad. of Charter Schs. v. Adams Cnty. Sch. Dist. No. 12&lt;/span&gt;,&lt;/i&gt; &lt;span class="ldml-cite"&gt;32 P.3d 456, 464&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-court"&gt;Colo.&lt;/span&gt; &lt;span class="ldml-date"&gt;2001&lt;/span&gt;)&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-embeddedsentence"&gt;&lt;span class="ldml-relatingauthority"&gt;explaining&lt;/span&gt; that although &lt;span class="ldml-entity"&gt;we&lt;/span&gt; usually presume that the General Assembly intends to change a law by amending it, that presumption is rebuttable &lt;span class="ldml-pagenumber" data-rep="P.3d" data-page_type="bracketed_cite" data-vol="527" data-val="380" data-id="pagenumber_31023"&gt;&lt;/span&gt; if &lt;span class="ldml-entity"&gt;the legislature&lt;/span&gt; intended only to clarify an ambiguity in the law&lt;/span&gt;)&lt;/span&gt;&lt;span class="ldml-referenceseparator"&gt;;&lt;/span&gt; &lt;span class="ldml-entity"&gt;&lt;a href="/vid/888925618" data-vids="888925618" class="ldml-reference" data-prop-ids="embeddedsentence_31147"&gt;&lt;span class="ldml-refname"&gt;&lt;i class="ldml-italics"&gt;Vensor v. People&lt;/i&gt;&lt;/span&gt; , &lt;span class="ldml-cite"&gt;151 P.3d 1274, 1279&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-court"&gt;Colo.&lt;/span&gt; &lt;span class="ldml-date"&gt;2007&lt;/span&gt;)&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-quotation quote"&gt;&lt;span class="ldml-embeddedsentence"&gt;"&lt;span class="ldml-parenthetical"&gt;[T]&lt;/span&gt;he testimony of &lt;span class="ldml-entity"&gt;a bill&lt;/span&gt;'s sponsor concerning its purpose and anticipated effect can be powerful evidence of &lt;span class="ldml-entity"&gt;legislative intent&lt;/span&gt;."&lt;/span&gt;&lt;/span&gt;)&lt;/span&gt;&lt;/span&gt;&lt;/span&gt;&lt;span data-paragraph-id="30275" data-sentence-id="31279" class="ldml-sentence"&gt;.&lt;/span&gt;&lt;/p&gt;&lt;p data-paragraph-id="31280" class="ldml-paragraph "&gt;&lt;span data-paragraph-id="31280" data-sentence-id="31280" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_31280"&gt;&lt;span class="ldml-cite"&gt;¶45&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; That the General Assembly chose to clarify that fractional interest owners are not subject to independent valuation or notice only after the division published its decision concluding otherwise is instructive.&lt;/span&gt; &lt;span data-paragraph-id="31280" data-sentence-id="31494" class="ldml-sentence"&gt;To hold that fractional interest owners have standing in the audit and protest process in light of &lt;span class="ldml-entity"&gt;this amendment&lt;/span&gt; would clearly contravene the intent of the General Assembly.&lt;/span&gt;&lt;/p&gt;&lt;p data-paragraph-id="31668" class="ldml-paragraph "&gt;&lt;span data-paragraph-id="31668" data-sentence-id="31668" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_31668"&gt;&lt;span class="ldml-cite"&gt;¶46&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; For these reasons, &lt;span class="ldml-entity"&gt;we&lt;/span&gt; conclude that the &lt;span class="ldml-quotation quote"&gt;"taxpayer"&lt;/span&gt; as contemplated by the pertinent &lt;span class="ldml-entity"&gt;statutes&lt;/span&gt; and the ARL's audit procedures &lt;i class="ldml-italics"&gt;must&lt;/i&gt; be the unit operator.&lt;/span&gt;&lt;/p&gt;&lt;/div&gt;&lt;/div&gt;&lt;/div&gt;&lt;div class="ldml-section"&gt;&lt;section class="ldml-heading content__heading content__heading--depth1" data-specifier="IV" data-confidences="very_high" data-types="conclusion" data-parsed="true" data-content-heading-label="IV. Conclusion" data-format="upper_case_roman_numeral" data-value="IV. Conclusion" data-ordinal_end="4" id="heading_31822" data-id="heading_31822" data-ordinal_start="4"&gt;&lt;span data-paragraph-id="31822" class="ldml-paragraph "&gt;&lt;b class="ldml-bold"&gt;&lt;span data-paragraph-id="31822" data-sentence-id="31822" class="ldml-sentence"&gt;IV.&lt;/span&gt; &lt;span data-paragraph-id="31822" data-sentence-id="31826" class="ldml-sentence"&gt;Conclusion&lt;/span&gt;&lt;/b&gt;&lt;/span&gt;&lt;/section&gt;&lt;p data-paragraph-id="31836" class="ldml-paragraph "&gt;&lt;span data-paragraph-id="31836" data-sentence-id="31836" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_31836"&gt;&lt;span class="ldml-cite"&gt;¶47&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; Because CO&lt;/span&gt;&lt;sub class="ldml-subscript"&gt;2&lt;/sub&gt; lacks a legally protected interest, it lacks standing to challenge &lt;span class="ldml-entity"&gt;Montezuma County&lt;/span&gt;'s retroactive assessment and increased property taxes.&lt;/span&gt; &lt;span data-paragraph-id="31836" data-sentence-id="31991" class="ldml-sentence"&gt;This conclusion aligns with the General Assembly's carefully crafted statutory system, which designates the unit operator as the representative for the fractional interest owners throughout the unitized oil and gas property tax process.&lt;/span&gt; &lt;span data-paragraph-id="31836" data-sentence-id="32228" class="ldml-sentence"&gt;Accordingly, &lt;span class="ldml-entity"&gt;we&lt;/span&gt; reverse the division's judgment and affirm &lt;span class="ldml-entity"&gt;the trial court&lt;/span&gt;'s order granting &lt;span class="ldml-entity"&gt;Montezuma County&lt;/span&gt;'s &lt;span class="ldml-entity"&gt;motion to dismiss&lt;/span&gt;.&lt;/span&gt;&lt;/p&gt;&lt;/div&gt;&lt;/div&gt;&lt;div class="ldml-notes content__heading content__heading--depth1" data-content-heading-label="Footnotes"&gt;&lt;div class="ldml-note ldml-note"&gt;&lt;p data-paragraph-id="32357" class="ldml-paragraph "&gt;&lt;sup class="ldml-superscript"&gt;&lt;/sup&gt;&lt;a href="#note-ref-fr1" class="ldml-notemarker" id="note-fr1"&gt;1&lt;/a&gt; &lt;span data-paragraph-id="32357" data-sentence-id="32358" class="ldml-sentence"&gt;In this context, &lt;span class="ldml-quotation quote"&gt;"nonoperating working interest owner"&lt;/span&gt; simply means any working fractional interest owner that is not also the unit operator.&lt;/span&gt;&lt;/p&gt;&lt;/div&gt;&lt;div class="ldml-note ldml-note"&gt;&lt;p data-paragraph-id="32499" class="ldml-paragraph "&gt;&lt;sup class="ldml-superscript"&gt;&lt;/sup&gt;&lt;a href="#note-ref-fr2" class="ldml-notemarker" id="note-fr2"&gt;2&lt;/a&gt; &lt;span data-paragraph-id="32499" data-sentence-id="32500" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;We&lt;/span&gt; granted certiorari on the following issue: &lt;span class="ldml-quotation quote"&gt;"Whether &lt;span class="ldml-entity"&gt;the court of appeals&lt;/span&gt; erred in holding that nonoperating fractional interest owners in an oil and gas unit have standing to separately challenge a retroactive assessment of tax on the unit, apart from the designated unit operator."&lt;/span&gt;&lt;/span&gt;&lt;/p&gt;&lt;/div&gt;&lt;div class="ldml-note ldml-note"&gt;&lt;p data-paragraph-id="32785" class="ldml-paragraph "&gt;&lt;sup class="ldml-superscript"&gt;&lt;/sup&gt;&lt;a href="#note-ref-fr3" class="ldml-notemarker" id="note-fr3"&gt;3&lt;/a&gt; &lt;span data-paragraph-id="32785" data-sentence-id="32786" class="ldml-sentence"&gt;Although &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_32786"&gt;&lt;span class="ldml-cite"&gt;section 39-10-106&lt;span class="ldml-parenthetical"&gt;(4)&lt;/span&gt;&lt;span class="ldml-parenthetical"&gt;(a)&lt;/span&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; provides that a treasurer may collect taxes directly from a fractional interest owner, it may only do so if the unit operator fails to collect and remit the tax from the fractional interest owners.&lt;/span&gt; &lt;span data-paragraph-id="32785" data-sentence-id="33017" class="ldml-sentence"&gt;That provision does not demonstrate the General Assembly's intent to disrupt its representative structure; rather, it is a practical provision that allows a treasurer to collect payment in the event that the operator fails to satisfy its statutory obligation.&lt;/span&gt; &lt;span data-paragraph-id="32785" data-sentence-id="33277" class="ldml-sentence"&gt;&lt;span class="ldml-referencechain"&gt;&lt;span class="ldml-signal"&gt;&lt;i class="ldml-italics"&gt;See&lt;/i&gt;&lt;/span&gt; &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_33017"&gt;&lt;span class="ldml-cite"&gt;&lt;i class="ldml-italics"&gt;id.&lt;/i&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;/span&gt;&lt;/span&gt;&lt;/p&gt;&lt;/div&gt;&lt;div class="ldml-note ldml-note"&gt;&lt;p data-paragraph-id="33284" class="ldml-paragraph "&gt;&lt;sup class="ldml-superscript"&gt;&lt;/sup&gt;&lt;a href="#note-ref-fr4" class="ldml-notemarker" id="note-fr4"&gt;4&lt;/a&gt; &lt;span data-paragraph-id="33284" data-sentence-id="33285" class="ldml-sentence"&gt;The ARL uses the term &lt;span class="ldml-quotation quote"&gt;"declaration"&lt;/span&gt; rather than &lt;span class="ldml-quotation quote"&gt;"statement,"&lt;/span&gt; but that term should be read synonymously with &lt;span class="ldml-quotation quote"&gt;"statement"&lt;/span&gt; as it appears in &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_33285"&gt;&lt;span class="ldml-cite"&gt;section 39-7-101&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="33284" data-sentence-id="33440" class="ldml-sentence"&gt;&lt;span class="ldml-referencechain"&gt;&lt;span class="ldml-signal"&gt;&lt;i class="ldml-italics"&gt;See&lt;/i&gt;&lt;/span&gt; &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="embeddedsentence_33456,sentence_33285"&gt;&lt;span class="ldml-cite"&gt;3 ARL 6.21&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-quotation quote"&gt;&lt;span class="ldml-embeddedsentence"&gt;"&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="embeddedsentence_33570,sentence_33285"&gt;&lt;span class="ldml-cite"&gt;Section 39-7-101&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;, C.R.S., requires every operator or owner ... to file a statement with the county assessor ....&lt;/span&gt; &lt;span class="ldml-embeddedsentence"&gt;The statement is an Oil and Gas Real and Personal Property Declaration Schedule ...."&lt;/span&gt;&lt;/span&gt;)&lt;/span&gt;&lt;/span&gt;&lt;/span&gt;&lt;span data-paragraph-id="33284" data-sentence-id="33656" class="ldml-sentence"&gt;.&lt;/span&gt;&lt;/p&gt;&lt;/div&gt;&lt;/div&gt;&lt;/div&gt;&lt;/div&gt;
 &lt;/div&gt;
&lt;/div&gt;